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             UNITED STATES COURT OF INTERNATIONAL TRADE

                                ________________
INTERNATIONAL RIGHTS ADVOCATES,
621 Maryland Ave NE,
Washington, D.C. 20002

                Plaintiff,

                v.

ALEJANDRO MAYORKAS, Secretary
U.S. Department of Homeland Security
2707 Martin Luther King Jr Ave SE, MS 0525   Case No.   1:23-cv-00165
Washington, DC 20528-052

TROY A. MILLER, Acting Commissioner
U.S. Customs and Border Protection,
c/o Office of Chief Counsel,
1300 Pennsylvania Ave, Suite 4.4-B
Washington, DC 20229


                Defendants.




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             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                   I. INTRODUCTION AND FACTUAL BACKGROUND

       1.       Plaintiff International Rights Advocates (IRAdvocates) brings this action under

the Administrative Procedure Act (APA), 5 U.S.C. § 701, et seq. Plaintiff seeks declaratory and

injunctive relief against Alejandro Mayorkas, in his capacity as Secretary of the Department of

Homeland Security (DHS), and Troy A. Miller, in his capacity as Acting Commissioner of

Customs and Border Protection (CBP), for their failure to take any of the actions required by the

Tariff Act of 1930, 19 U.S.C. § 1307, and the applicable implementing regulations, 19 CFR §

12.42 et seq, following the February 14, 2020 filing of a credible and well-documented Petition

(attached hereto as Exhibit A) by IRAdvocates, Corporate Accountability Lab (CAL), and

University of California Irvine Law School Human Rights Clinic (UCI). These organizations

filed their Petition over three years and five months ago seeking to ban the importation of cocoa

from Côte d’Ivoire by seven major chocolate companies that is harvested in whole or in part by

forced child labor. The CBP has not only failed to make a decision but has also failed to respond

to an inquiry made two years after the Petition was filed by IRAdvocates, CAL, UCI, and a large

number of interested parties and organizations requesting enforcement of the law (letter attached

as Exhibit B). Because the responsible agencies, DHS and CBP, have failed to take any action at

all in response to the Petition, Plaintiff seeks an order from this Court requiring these entities to

comply with the law and fulfil their statutory obligations.

       A. STATUTORY AND REGULATORY FRAMEWORK

       2.       Section 307 of the Tariff Act prohibits the importation of goods that are the fruits

of forced labor, declaring, inter alia, that “[a]ll goods, wares, articles, and merchandise mined,

produced, or manufactured wholly or in part in any foreign country by convict labor or/and




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forced labor or/and indentured labor under penal sanctions shall not be entitled to entry at any of

the ports of the United States, and the importation thereof is hereby prohibited, and the Secretary

of the Treasury is authorized and directed to prescribe such regulations as may be necessary for

the enforcement of this provision.” 19 U.S.C. § 1307 (1997) (emphasis added).

       3.       The Tariff Act was amended in 1997 to clarify the definition of forced labor so as

to specifically and explicitly prohibit the importation of goods produced by forced child labor for

the purposes of the Act. “‘Forced labor,’ as herein used, shall mean all work or service which is

exacted from any person under the menace of any penalty for its nonperformance and for which

the worker does not offer himself voluntarily. For purposes of this section, the term ‘forced labor

or/and indentured labor’ includes forced or indentured child labor.” 19 U.S.C. § 1307 (1997)

(emphasis added).

       4.       The U.S. Customs regulations that implement the Tariff Act, 19 C.F.R. § 12.42, et

seq., entitle “[a]ny person outside the Customs Service who has reason to believe that

merchandise produced [by convict, forced, or indentured labor] is being, or is likely to be,

imported into the United States” to “communicate his belief to any port director or the

Commissioner of Customs.” 19 CFR § 12.42(b). IRAdvocates, CAL, and UCI acted in good

faith under this provision and filed the Petition with CBP on February 14, 2020. There is no

question that the Petition was received by CBP as IRAdvocates and CAL have had several

discussions about the Petition with staff at CBP and have also supplemented their filing with

additional evidence on two occasions.

       5.       The Commissioner of Customs, upon receipt of any such communication, “will

cause such investigation to be made as appears to be warranted by the circumstances of the

case . . .” 19 CFR § 12.42(d).




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       6.       If the Commissioner of Customs finds at any time “that information available

reasonably but not conclusively indicates that merchandise within the purview of section 307 [of

the Tariff Act] is being, or is likely to be, imported, he will promptly advise all port directors

accordingly and the port directors shall thereupon withhold release of any such merchandise

pending instructions from the Commissioner as to whether the merchandise may be released

otherwise than for exportation.” 19 CFR § 12.42(e) (emphasis added).

       7.       If it is determined that the merchandise is indeed subject to the provisions of

Section 307, such merchandise must be denied entry into the United States, “unless the importer

establishes by satisfactory evidence that the merchandise was not mined, produced, or

manufactured in any part with the use of a class of labor specified in the finding.” 19 CFR §

12.42(f),(g) (emphasis added).

       8.       Section 1307 was further amended in 2016 when Pub. L. 114-125 struck out the

“consumptive demand exception” that originally followed after “enforcement of this provision.”

Prior to this change, the statute read: “[t]he provisions of this section relating to goods, wares,

articles, and merchandise mined, produced, or manufactured by forced labor or/and indentured

labor, shall take effect on January 1, 1932; but in no case shall such provisions be applicable to

goods, wares, articles, or merchandise so mined, produced, or manufactured which are not

mined, produced, or manufactured in such quantities in the United States as to meet the

consumptive demands of the United States.” Prior to the 2016 amendment, the “consumptive

demand exception” was very difficult to satisfy, and cases which failed to satisfy the exception

were ruled to lack standing. This was demonstrated in the International Labor Rights Fund’s

prior case filed in 2005 seeking to ban the importation of cocoa harvested with forced child

labor. This legal obstacle, now removed, is no longer relevant. 19 U.S.C. § 1307 (1997).




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       B. FORCED CHILD LABOR ON COCOA PLANTATIONS IN CÔTE D’IVOIRE
       IS WELL-DOCUMENTED AND NOT DISPUTABLE


       9.       Côte d’Ivoire is the largest producer of cocoa in the world. While seventy percent

of the world’s cocoa comes from West African countries, primarily Côte d’Ivoire and Ghana, 1

roughly forty-five percent is produced in Côte d’Ivoire alone. 2 The United States, being the third

largest importer of chocolate (following Netherlands and Germany), is a major customer of Côte

d’Ivoire’s cocoa. 3 The United States accounts for forty-six percent of Côte d’Ivoire’s direct

exports. However, the quantity of Ivorian cocoa imported into United States is much higher than

that percentage would indicate, as countries including Panama, Belgium, and Spain reexport

Ivorian cocoa to the U.S. after processing it.

       10.      Child labor is rampant in Côte d’Ivoire. In 2013, a UNICEF report estimated that

1.4 million children aged five to seventeen were working in Côte d’Ivoire, with forty-nine

percent working in the agricultural sector alone. 4 The incidence of child labor has only increased

in recent years. In October 2020, the Department of Labor issued a report (NORC Report) in

conjunction with the University of Chicago; the report estimated (based on 2018/2019 survey

findings) approximately 1.56 million child laborers worked in cocoa production in Côte




1
  Marius Wessel & P.M. Foluke Quist-Wessel, Cocoa production in West Africa, a review and
analysis of recent developments, NJAS: WAGENINGEN J. LIFE SCI., Vol. 74-75 (December 2015),
https://doi.org/10.1016/j.njas.2015.09.001.
2
  Elian Peltier, Ivory Coast Supplies the World With Cocoa. Now It Wants Some for Itself, NEW
YORK TIMES (Aug. 13, 2022), https://www.nytimes.com/2022/08/13/world/africa/ivory-coast-
chocolate.html.
3
  Vivek Voora, Steffany Bermúdez, & Cristina Larrea, Global Market Report: Cocoa, INT’L
INST. FOR SUST. DEV. 1 (2019), https://www.iisd.org/system/files/publications/ssi-global-market-
report-cocoa.pdf.
4
  Promoting the Rights of children in the Cocoa Producing Areas in Côte d’Ivoire, UNICEF 6
(March 2019), https://open.unicef.org/sites/transparency/files/2020-06/Cote-d-Ivoire-TP5-
2018.pdf.


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d’Ivoire and Ghana. 5 Of this number, 790,000 worked in Côte d’Ivoire alone. 6 According to the

U.S. State Department, this number increased during the COVID-19 pandemic, but a follow-up

study in November found that the rates had fallen to pre-COVID-19 levels. 7 It bears mentioning

that while the Department of Labor abdicated its responsibility to investigate the presence of

forced labor, its conclusion that ninety-five percent of child laborers (1.48 million children)

engage in the Worst Forms of Child Labor certainly is a strong indicator that much of the child

labor in Côte d’Ivoire and Ghana is forced. 8 Among those children living in agricultural

households in Côte d’Ivoire, the rate of children engaged in hazardous work, including exposure

to toxic chemicals, hazardous tools, and carrying heavy loads, increased by fourteen percent




5
  NORC Final Report: Assessing Progress in Reducing Child Labor in Cocoa Production in
Cocoa Growing Areas of Côte d’Ivoire and Ghana, NORC AT THE UNIVERSITY OF CHICAGO 10
(Oct. 2020),
https://www.norc.org/PDFs/Cocoa%20Report/NORC%202020%20Cocoa%20Report_English.p
df (hereinafter “NORC report”).
6
  Id.
7
  Bureau of Democracy, Human Rights and Labor, Country Reports on Human Rights Practices,
2021: Côte d’Ivoire, U.S. DEP’T OF STATE39 (2021), https://www.state.gov/wp-
content/uploads/2022/02/313615_COTE-D_IVOIRE-2021-HUMAN-RIGHTS-REPORT.pdf.
8
   NORC Report, supra note 5 at 2, 47.


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from 2008/2009 to 2018/2019. 9

       11.     It is well-documented that forced child labor, and other “Worst Forms of Child

Labor” that violate ILO Convention No. 182, is prevalent on cocoa plantations in Côte d’Ivoire

that supply U.S. importers. 10 The U.S. State Department, the

International Labor Organization (ILO), and UNICEF, among

others, have documented the existence of child slavery in cocoa

with reports and statistics dating back to the late 1990s. Since that

time, Côte d’Ivoire’s cocoa production has been controlled by major

chocolate companies with the unilateral goal of finding the cheapest

sources of cocoa. Various NGOs, including IRAdvocates, have

independently confirmed that many of the children working on

Ivorian cocoa plantations are forced to work as slaves without any remuneration. Further, many

of the adult workers are themselves forced, bonded or indentured laborers. These levels of child

labor and forced labor are a direct result of cocoa farmers being impoverished, as nearly seventy

percent of cocoa is produced by farmers living on less than two dollars a day. 11

       12.     Since 1997, UNICEF has reported that children from neighboring countries have

been trafficked to Côte d’Ivoire to harvest cocoa beans. 12 In a 2019 report, UNICEF reported



9
  Id. at 70.
10
   The Washington Post published a major exposé on the continued and extensive use of
children, many of them trafficked into forced labor, performing hazardous work harvesting cocoa
for Defendants in Côte d’Ivoire. Peter Whoriskey & Rachel Siegel, Cocoa’s child laborers, THE
WASHINGTON POST (June 5, 2019),
https://www.washingtonpost.com/graphics/2019/business/hershey-nestle-mars-chocolate-child-
labor-west-africa/?utm_term=.6cb753bcb6f8.
11
   Voora, Bermúdez, & Larrea, supra note 3 at 1.
12
   See Carol Bellamy, The State of the World's Children 1997: Focus on Child Labour, OXFORD
UNIVERSITY PRESS FOR UNICEF (1997), https://www.unicef.org/media/84761/file/SOWC-
1997.pdf.


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that many children engaged in child labor in Côte d’Ivoire come from countries such as Burkina

Faso, Mali, Togo, Benin, Niger, Guinea, and Ghana. 13 While many of the children migrate with

their families, some migrate alone in search of financial stability, increasing the risk that they

will be victimized and coerced into forced labor. 14 Human traffickers often prey on the most

vulnerable members of society, recruiting financially insecure children from neighboring

countries and tricking them into slavery through false promises of jobs and financial security. 15

The U.S. Department of Labor describes the conditions of forced child labor in chilling detail:

       [s]ome children are sold by their parents to traffickers, some are kidnapped, and
       others migrate willingly but fall victim to traffickers who sell them to recruiters or
       farmers, where they end up in conditions of bonded labor. Some farmers buy the
       children and refuse to let them leave the farm until the debt of their purchase has
       been worked off. The children are frequently not paid for their work; some of their
       wages are paid to the recruiter or trafficker. These children are held against their
       will on isolated farms, are locked in their living quarters at night, and are threatened
       and beaten if they attempt to escape. They are punished by their employers with
       physical abuse. They are forced to work long hours, including overtime, and are
       required to work even when they are sick. Some children are denied sufficient food
       by their traffickers and employers. 16

       13.      The 2021 Country Report on Human Rights Practices, issued by the Department

of State, recognizes Côte d’Ivoire as “a source, transit, and destination country for children

subjected to trafficking in persons.” 17 It further explains the state of forced labor in Côte

d’Ivoire:

       The government did not effectively enforce the law [regarding trafficked and forced
       labor]. Penalties were criminal and commensurate with those for comparable
       crimes such as kidnapping but were seldom and inconsistently applied. The


13
   Promoting the Rights of children in the Cocoa Producing Areas in Côte d’Ivoire, supra note 4,
at 6.
14
   Id.
15
   Trafficking in Persons Report, U.S. DEP’T OF STATE 27 (2011).
16
   Bureau of Int’l Labor Affairs, List of Goods Produced by Child Labor or Forced Labor, U.S.
DEP’T OF LABOR (September 28, 2022), https://www.dol.gov/agencies/ilab/reports/child-
labor/list-of-goods-print.
17
   Country Reports on Human Rights Practices, 2021: Côte d’Ivoire, supra note 7,at 31.


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           government did not provide enough resources or conduct enough inspections to
           enforce compliance. Forced and compulsory labor, including for children,
           continued to occur in small-scale and commercial production of agricultural
           products, particularly on cocoa, coffee, pineapple, cashew, and rubber
           plantations. 18

Ultimately, the Ivorian government repeatedly fails to enforce its anti-trafficking laws,

and the worst forms of child labor in agriculture are most prevalent in the cocoa and

coffee sectors. 19 The State Department’s report also found that “[i]nspections carried out

during the year did not result in fines for child labor crimes. Penalties were

commensurate with penalties for comparable crimes but were seldom applied. The

number of inspectors and resources for enforcement were insufficient to enforce the

law.” 20

           14.   While Ivorian government officials outwardly condemn child labor trafficking,

corruption exists at many levels, with “[s]ome observers alleg[ing] low-ranking police on the

borders with Mali and Ghana facilitated smuggling, including potential trafficking cases, and

organized a system to collect bribes at checkpoints and along bus routes.” 21 This form of

corruption is consistent with what a group of investigators, working with CAL, witnessed in

November 2020. Further, in 2019, staff and agents of IRAdvocates were arrested in Sikasso,

Mali, when they were photographing traffickers at the main bus station. The police ignored their

demand to arrest the traffickers instead and the IRAdvocates’ team was held at the police station

for several hours when they refused to pay a bribe.




18
   Id. at 37 (2021).
19
   Id.
20
   Id. at 38-39.
21
   Trafficking in Persons Report, U.S. DEPT. OF STATE 189 (July 2022),
https://www.state.gov/wp-content/uploads/2022/10/20221020-2022-TIP-Report.pdf.


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           15.   The Department of State does note that, although the Côte d’Ivoire government

fails to meet the minimum requirements for the elimination of trafficking, various significant

improvements have occurred. While these numbers are likely extremely under-representative of

the actual numbers of trafficking victims, the “Trafficking in Persons Report” (July 2022) states

that during the reporting period, 1,190 trafficking victims were identified by the Ivorian

government, the majority children; of these, 753 were trafficked for forced labor. 22 Some of

these children were foreign nationals, coming from Nigeria, Mali, Guinea, Burkina Faso, Niger,

Togo, and Benin. 23 The “Trafficking in Persons Report” cites one case investigated by the Sub-

Directorate in the Fight against Trafficking and Child Labor (SDLTEDJ), where “law

enforcement arrested 24 alleged traffickers and identified 68 child victims, most of whom were

from Burkina Faso, exploited in forced labor in cocoa; courts convicted and sentenced five

traffickers under Law No. 2016-111 and 17 traffickers under penal code provisions on child




22
     Id.
23
     Id.


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labor.” 24 Further, in February 2021, four alleged traffickers were arrested along with nineteen

rescued children, all from Burkina Faso, who were being transported across the border to work

on cocoa plantations. 25

       16.     News sources have also publicized a number of raids conducted by the Ivorian

government. In January 2020, Bloomberg reported that a raid in Côte d’Ivoire had rescued 137

children from Ghana, Nigeria, and Benin from human traffickers. 26 In a separate raid in October

2020, police arrested three farmers “on suspicion of people trafficking” and rescued eleven

children and two teenagers from cocoa farms in the southwestern part of Côte d’Ivoire.

According to a Reuters article, those children were rescued while shelling cocoa pods. 27 In early

February 2021, the Ivorian government arrested a total of seven traffickers and rescued twenty-

two children in two separate sting operations. 28 The Ivorian government again conducted a raid

in May of the same year, rescuing sixty-eight children from forced labor conditions on cocoa

farms and arresting twenty-five suspected traffickers. Reuters reported that most of these children

had been trafficked into Côte d’Ivoire from Burkina Faso. 29 Despite these major actions, the role

of the government appears to vary by region and is undermined by ongoing corruption. In fact,




24
   Id.
25
   Country Reports on Human Rights Practices, 2021: Côte d’Ivoire, supra note 7, at 38.
26
   Leanne de Bassompierre, Ivory Coast Rescues 137 Children in Raid on Traffickers,
BLOOMBERG, (Jan. 13, 2020), https://www.bloomberg.com/news/articles/2020-01-13/top-cocoa-
grower-rescues-137-children-in-raid-on-traffickers#xj4y7vzkg.
27
   Ange Aboa, Ivory Coast police rescue 11 children working on cocoa farms, REUTERS (Oct. 7,
2020), https://www.reuters.com/article/us-ivorycoast-cocoa/ivory-coast-police-rescue-11-
children-working-on-cocoa-farms-idUSKBN26S3C4.
28
   Ange Aboa, Ivory Coast arrests three suspected child traffickers in cocoa belt, REUTERS (Feb.
12, 2021), https://www.reuters.com/article/cocoa-childlabour-ivorycoast/ivory-coast-arrests-
three-suspected-child-traffickers-in-cocoa-belt-idUSL8N2KI3GR.
29
   Ange Aboa, Ivory Coast police rescue 68 children working on cocoa farms, REUTERS (May
10, 2021), https://www.reuters.com/world/africa/ivory-coast-police-rescue-68-children-working-
cocoa-farms-2021-05-10/.


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the recent increased attention to forced labor trafficking, including a new anti-trafficking

center, 30 has forced child labor further underground as the traffickers are now acting more

discreetly.

       17.     Beginning in 1999, Plaintiff IRAdvocates (and its predecessor organization,

International Labor Rights Forum) conducted several investigative trips to Côte d’Ivoire and Mali

to document forced and trafficked child labor in cocoa harvesting, as well as children working

under hazardous conditions that violate ILO Convention No. 182. Most recently, in December

2020, IRAdvocates investigators visited five different regions in Côte d’Ivoire. While in those

areas, the investigators spoke with children they encountered and asked them questions about

their work, school, and parents. Many of the children the investigators spoke with were young,

did not appear to be attending school, and were using sharp objects, such as machetes. Such work

would be considered as fitting within the “worst forms of child labor” and is therefore prohibited

under ILO Convention No. 182. The investigators found indicators of abuse of vulnerable

children, abusive working and living conditions, and isolation, all well-established criteria for

“forced labor.” Many of the children had been trafficked from Mali and Burkina Faso. In some

cases, the trafficked child workers initially said they were from Côte d’Ivoire and were working

for their “uncle,” but upon further questioning they admitted they had been trafficked.

       18.     As part of the investigation, IRAdvocates spoke to leaders of various cocoa

cooperatives. All of them either admitted that child labor was common or claimed not to know

the conditions on the plantations from which they sourced their cocoa beans. While the major




30
  The anti-trafficking center referred to here is one of the centers that the First Lady’s Office has
established. Abou Traoré, Travail des enfants dans les plantations de cacao: Le traffic a la peau
dure, CENOZO (Jan. 8, 2019), https://cenozo.org/travail-des-enfants-dans-les-plantations-de-
cacao-le-trafic-a-la-peau-dure/.


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chocolate companies claim they are moving towards “transparency” and “sustainability,”

whatever those terms mean, it is clear that very little has changed on the ground in Côte

d’Ivoire.

C. CHOCOLATE COMPANIES HAVE KNOWINGLY BENEFITTED FROM
FORCED CHILD LABOR FOR DECADES DESPITE THEIR PLEDGES TO END THE
ABUSE OF CHILD WORKERS IN THEIR COCOA SUPPLY CHAINS.

       19.      In 1999, various labor rights and consumer groups, including the International

Labor Rights Forum and the Child Labor Coalition, urged Congress to pressure the major

chocolate companies to stop using trafficked and forced child labor and to pay the adult workers

a living wage. They worked with then-Congressman Bernie Sanders and Congressman Elliot

Engel to introduce legislation to ban the importation of cocoa (and other products) harvested by

forced child labor. In 2001, that bill passed the House by a 291-115 vote and went to the Senate,

where Senator Tom Harkin sponsored it. However, the pending legislation, known as the

Harkin-Engel bill, was halted before a Senate vote due to intense industry lobbying against a

mandatory program with real consequences. Once the lobbyists were done with the bill, it was

transformed to the 2001 Harkin-Engel Protocol (the “Protocol”), a “voluntary” initiative that

gave participating companies until 2005 to “phase out” the use of child labor. The Protocol,

attached hereto as Exhibit C, was personally signed by the Chief Executive Officers of the

major chocolate companies, including Nestlé, Hershey, and Mars, as well as the overall industry

group, the Chocolate Manufacturers Association. They explicitly acknowledged that forced

child labor and other “worst forms of child labor” prohibited by ILO Convention No. 182 were

endemic in cocoa harvesting in Côte d’Ivoire and Ghana. The Protocol was therefore an explicit

admission by the major companies in 2001 that their cocoa was harvested by exploited children.

The Protocol is also not a bygone example of the recent history of such admissions; as discussed




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below, the major companies flouted the Protocol’s timeline and extended the deadline to

eradicate child labor to 2008, then 2010, then 2020, then 2025—and then abandoned a set

date. 31

           20.   The World Cocoa Foundation (WCF) is a non-profit member organization whose

members represent more than eighty percent of the cocoa sector. 32 Among the WCF’s almost

100 members are leading chocolate manufacturers, suppliers, and producers such as Nestlé, the

Hershey Company, Mars Wrigley, Barry Callebaut, Olam International, and Cargill. The

foundation’s stated purpose is to “convene the private sector, governments, civil society and

cocoa-growing communities to focus on three goals: increasing farmer income, combating child

and forced labor, and ending deforestation in cocoa.” 33 In actuality, the WCF has become a

home base for cocoa companies to coordinate public relations positions and strategize about

how to avoid making major changes in their child labor-dependent system of cocoa harvesting.

           21.   The International Cocoa Initiative (ICI) is a Geneva-based non-profit

organization established pursuant to Article 5 of the Harkin-Engel Protocol. The group is a

multi-stakeholder partnership between cocoa and chocolate producers, farming communities,




31
   See Joint Statement from U.S. Sen. Tom Harkin, Rep. Eliot Engel and the Chocolate/Cocoa
Industry on Efforts to Address the Worst Forms of Child Labor in Cocoa Growing Protocol
Work Continues (July 1, 2005),
http://www.cacao.gouv.ci/commun/documents/jointstatementSenateurTomHarkin.pdf.; Joint
Statement from U.S. Sen. Tom Harkin, Rep. Eliot Engel and the Chocolate and Cocoa Industry
on the Implementation of the Harkin-Engel Protocol (June 16, 2008),
http://www.csrwire.com/press_releases/14132-Joint-Statement-from-U-S-Senator-Tom-Harkin-
Representative-Eliot-Engel-and-the-Chocolate-and-Cocoa-Industry-on-the-Implementation-of-
the-Harkin-Engel-Protocol-#,; Tim McCoy, 2018 Child Labor Cocoa Coordinating Group 8th
Annual Meeting Remarks, World Cocoa Foundation (Aug, 21, 2018),
https://www.worldcocoafoundation.org/blog/2018-child-labor-cocoa-coordinating-group-8th-
annual-meeting-remarks/.
32
   WORLD COCOA FOUNDATION, https://www.worldcocoafoundation.org/.
33
   Id.


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international organizations, governments, and civil society members. Members include Nestlé,

Hershey, Barry Callebaut, Mars Wrigley, Mondelēz International, Olam International, and

Cargill. The landing page of the initiative’s website opens with “[p]reventing and addressing

child labour and forced labour in cocoa,” and “[w]e are a non-profit foundation that works to

protect the rights of children and adults in cocoa-growing areas in West Africa.” 34 The ICI is, in

fact, industry-dominated and serves mainly to create the false impression that the industry is

making progress on ending child labor in cocoa harvesting.

       22.     In 2005, cocoa industry leaders representing the world’s largest chocolate

companies that source products from Côte d’Ivoire admitted the goals of the Protocol would not

be “fully met” by the 2005 deadline, but assured Sen. Harkin and Rep. Engel they were

“committed to achieving a certification system . . . within three years.” 35 Then, in 2008, the

industry leaders again unilaterally extended their self-imposed deadline by two years. 36 In 2010,

the industry delayed the implementation date by a full decade to 2020, and this time the goal

was changed to merely reducing by seventy percent the use of child labor in the cocoa industry.

At the Eighth Annual World Cocoa Foundation (WCF) meeting in July 2018, the industry

admitted it could not make its 2020 or even 2025 goal of eradicating child labor in the cocoa

supply chain. Effectively abandoning any set date, the WCF admitted it was not likely it would

meet its “aspiration for 2020” or other targets “for the eradication of child labor by 2025.” 37



34
   INTERNATIONAL COCOA INITIATIVE, https://www.cocoainitiative.org/.
35
   Joint Statement from U.S. Sen. Tom Harkin, Rep. Eliot Engel and the Chocolate/Cocoa
Industry on Efforts to Address the Worst Forms of Child Labor in Cocoa Growing Protocol
Work Continues, supra note 31.
36
   Joint Statement from U.S. Sen. Tom Harkin, Rep. Eliot Engel and the Chocolate and Cocoa
Industry on the Implementation of the Harkin-Engel Protocol, supra note 31.
37
   2018 Child Labor Cocoa Coordinating Group 8th Annual Meeting Remarks (2018),
https://www.worldcocoafoundation.org/blog/2018-child-labor-cocoa-coordinating-group-8th-
annual-meeting-remarks/.


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Thus, the major companies acknowledged that two decades after they promised to stop profiting

from forced child labor, they still were and would continue to do so.

       23.     After a study conducted in 2015 by Tulane University concluded that the number

of Ivorian children engaged in the worst forms of child labor on cocoa plantations substantially

increased between 2009 and 2014, with 1,203,472 child laborers working on farms in the 2013-

2014 harvest season, 38 cocoa companies renewed their false assurances to consumers and

regulators, stating they would initiate programs to reduce child labor in their supply chains.

These promises remain unfulfilled.

       24.     Many WCF leaders are the creators and founding members of the WCF’s

“CocoaAction Plan.” Among other things, the CocoaAction Plan purports to include a

monitoring system, the Child Labor Monitoring and Remediation System (CLMRS), to ensure

there are no children working on cocoa plantations. Like the Harkin-Engel Protocol, the

CocoaAction Plan and the CLMRS are ineffective in ending forced child labor and instead serve

as public relations ploys. Chocolate companies know them to be so and purposefully set them

up to be narrow, uncomprehensive, and lacking in transparency. The CLMRS “monitoring,”

like the CocoaAction Plan, extends only to a small percentage of chocolate companies’ supply

chains. Further, CLMRS does not have any form of independent monitoring, and provides no

consequences for a farmer using child slaves. Finally, there is no effective remediation when

CLMRS does find children working as slaves, and/or performing hazardous work with

dangerous tools and spraying pesticides and herbicides without protective equipment.




38
   Tulane University Payson Center for International Development, Survey Research on Child
Labor in West African Cocoa Growing Areas, Department of Labor (July 30, 2015)
https://www.dol.gov/sites/dolgov/files/ilab/research_file_attachment/tulane%20university%20-
%20survey%20research%20cocoa%20sector%20-%2030%20july%202015.pdf.


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       25.     One graphic example of the CocoaAction Plan’s willful and ongoing acceptance

of the use of child labor is apparent in the 2015 Fair Labor Association (FLA) audit on Nestlé (a

developer and promoter of the CocoaAction Plan), which occurred at Nestlé’s request. The

FLA’s audit report explained that “[f]or Nestlé in Ivory Coast, the FLA has been monitoring

since 2013 a growing portion of its cocoa supply served by the Nestlé Cocoa Plan (NCP). As of

mid-2015, the NCP represented around twenty-five percent of Nestlé’s total cocoa supply

chain.” 39 The NCP areas were what the FLA audited; in other words, Nestlé had the FLA audit

the small subset of its supplying cocoa farms where it had engaged in the most efforts to

eradicate child and slave labor, excluding the majority of its supply. The FLA assessors visited a

sample of 260 farms, less than one percent of the 30,000 that supply Nestlé in the Ivory Coast. 40

Despite this small sample limited to areas most favorable to Nestlé, the FLA report found that

“[c]hildren younger than 15 continue to work at cocoa farms connected to Nestlé, more than a

decade after the food company promised to end the use of child labour in its supply chain.” 41

These children “were expected to work in hazardous conditions and carry out dangerous tasks,

including using machetes and transporting heavy loads.” Additionally, the Fair Labor

Association “found evidence of forced labour, with a young worker not receiving any salary for

a year’s work at a farm.” 42 Ultimately, and remarkably, even Nestlé’s paid agent, when focusing

on the small subset of farms carefully selected to reduce the chances of unfair labor practices,



39
    2014 Executive Summary, Nestlé Cocoa Supply Chain, Ivory Coast, FAIR LABOR ASSOCIATION
1 (Sept. 2, 2015), https://www.fairlabor.org/reports/2014-executive-summary-nestle-cocoa-
supply-chain-ivory-coast/.
40
    Id.
41
   Joe Sandler Clarke, Child labour on Nestlé farms: chocolate giant’s problems continue, THE
GUARDIAN (September 2, 2015), https://www.theguardian.com/global-development-
professionals-network/2015/sep/02/child-labour-on-nestle-farms-chocolate-giants-problems-
continue.
42
    Id.


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immediately discovered many serious instances of exploitative practices harming child workers.

If this is what the FLA found in Nestlé suppliers’ monitored farms, a survey of Nestlé’s entire

supply chain—or that of other chocolate companies— would almost certainly yield even more

devastating findings of child slavery.

       26.     Further, in March 2019 interviews with the WCF, the ICI, and the Fair Labor

Association (FLA), IRAdvocates learned that, at most, twenty to thirty percent of any

producer’s cocoa comes from plantations that are in cooperatives and that are participants in the

CocoaAction Plan. The remaining seventy to eighty percent comes from “free zones,” where

there is no monitoring whatsoever and where there is an extremely high incidence of trafficked

and forced child labor. Though these percentages may have changed since 2019, it remains clear

that unmonitored cocoa still constitutes well over half of the overall cocoa supply (and for many

companies, often much more than half). 43

       27.     Meanwhile, the so-called “monitored” cocoa, though an improvement over “free

zones” because there is at least the possibility of traceability to the identified cocoa plantations,

relies on company-designed and -implemented systems that cannot remotely be considered

legitimate, independent monitoring. These systems are not transparent and they do not in

actuality prevent unfair labor practices; as with Nestlé’s monitoring system, this type of

“monitoring” remains inaccurate and misleading. The current company-sponsored “monitoring”



43
   See Cécile Renier et al, Transparency, traceability and deforestation in the Ivorian cocoa
supply chain, ENVIRONMENTAL RESEARCH LETTERS Vol. 18, No. 2, DOI 10.1088/1748-
9326/acad8e. This number is generous, as many chocolate companies monitor much less than
50% of their cocoa supply; Mars, for instance, traced only 24% as of 2019. Peter Whoriskey and
Rachel Siegel, With its 2005 deadline to end child labour missed, the cocoa industry is bitterly
behind – especially in Africa, THE INDEPENDENT (June 11, 2019),
https://www.independent.co.uk/news/world/africa/cocoa-child-labour-africa-hershey-nestle-
mars-cadbury-toblerone-a8948316.html.



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systems are prime examples of the fox guarding the chicken coop. Chocolate companies, as well

as the WCF and ICI, are misleading the public and consumers by creating the false impression

that the CocoaAction Plan extends past a small minority of farmers in companies’ supply

chains. In doing so, the organizations willfully fail to disclose the scale of child labor in cocoa

harvesting. In addition, there is still pervasive use of child labor even in the subset of plantations

in the CocoaAction Plan; the companies explain this away by claiming, without a factual basis,

that the child laborers are the children of the plantation owners. Regardless of whether some

child workers are family members of the farmers using them, these children are performing

hazardous work that no children are permitted to do under ILO Convention No. 182. As noted,

the company-implemented monitoring systems cover only a minority of the relevant cocoa

supply. And even for the farms they supposedly cover—the supposedly monitored, sustainable,

and slave-free farms—the systems, in actuality, do not prevent forced child labor or other

violations of ILO Convention No. 182.

       28.     Chocolate companies’ repeated delays in stopping their use of child slaves, after

twenty-two years of falsely promising to do so under the Harkin-Engel Protocol while

continuing to claim to be “committed” and “concerned” about the welfare of children,

demonstrates they knowingly benefit from forced child labor without interference. Their

“voluntary” initiatives have proven to be shams, and they are getting away with and profiting

from an international human rights crime while claiming they are making progress. 44 These

companies maintain an ongoing, cheap supply of cocoa through exclusive supplier/buyer




44
   See Peter Woriskey, Chocolate companies sell ‘certified cocoa.’ But some of those farms use
child labor, harm forests, WASHINGTON POST (Oct. 23, 2019),
https://www.washingtonpost.com/business/2019/10/23/chocolate-companies-say-their-cocoa-is-
certified-some-farms-use-child-labor-thousands-are-protected-forests/.


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relationships with local farms and/or farmer cooperatives in Côte d’Ivoire. Despite this control

and their specific knowledge of the pervasive use of child labor by the farmers harvesting cocoa

for them, chocolate companies have failed to stop the illegal use of forced child labor in cocoa

harvesting. This history and methodology of exploitation is well documented, as was irrefutably

demonstrated by the 2020 NORC Report showing that illegal child labor has increased since

2015 and there are now 1.56 million children harvesting cocoa. 45 This lawless environment

allows chocolate companies to continue to benefit from the forced child labor.

         29.    The Petition filed with CBP by IRAdvocates, CAL, and UCI specifically names

the major chocolate companies that signed the Protocol in 2001 but remain the worst offenders

of their failed promise to stop profiting from forced child labor and other worst forms of child

labor; the Petition asks that the cocoa harvested by these companies be banned from importation

to the U.S. The named companies are: Nestlé, Mars, Hershey, Barry Callebaut, Blommer

Chocolate Co., Cargill, Mondelēz, and Olam. Each of these companies continues to violate the

Protocol while engaging in deceptive practices to mislead consumers and regulators into

believing they no longer profit from forced child labor. Each of them is knowingly profiting

from trafficked and forced child labor and other examples of the “worst forms of child labor”

prohibited by ILO Convention No. 182. All of these companies pledged to stop this abuse of

West African children when they signed the Protocol in 2001 and have been misleading the

public about their efforts to do so since then.




45
     NORC Report, supra note 5, at 146.


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a. Nestlé

       30.     Nestlé, U.S.A. (Nestlé) is a U.S. corporation that is a subsidiary of Nestlé, S.A.

Headquartered in Virginia, Nestlé is one of the largest food and beverage companies in the U.S.

with 21,000 employees nationwide, forty-two manufacturing facilities, six distribution centers,

and fifty-eight sales offices. It is one of the largest purchasers, manufacturers, and retail sellers

of cocoa products in North America. The company acknowledges child labor exists in its supply

chain. 46 Nestlé bombards the public with nice-sounding policies that are merely false assurances

of its compliance with its own standards and universally recognized prohibitions on trafficking

and using children to perform hazardous work.

       31.     As one example of consumer-facing messaging, Nestlé’s Responsible Sourcing

Standard provides in section 2.2.5:


       Minimum Age for Employment. In accordance with international labour standards,
       no person shall be employed under the age of 15 or under the age for completion
       of compulsory education, whichever is higher, except in the strict frame of the
       Family Farm Work described in 4.2.1: If the Supplier employs young workers,
       defined as between the ages of 15 and 18, it shall demonstrate that the employment
       of young people contributes to their personal education and does not expose them
       to undue physical risks that can harm physical, mental or emotional development.47

       32.     Despite this assertion, Nestlé’s known suppliers systematically violate this

standard. Meanwhile, Nestlé profits from cocoa it obtains from the “free zones” in Côte

d’Ivoire, where Nestlé knows the cocoa is produced by young children forced to perform




46
   Nestlé Cocoa Plan, Tackling Child Labor 2017 Report, NESTLÉ 9,
https://www.nestlecocoaplan.com/themes/custom/cocoa/dist/assets/nestle-cocoa-plan-child-
labour-2017-report.pdf.
47
   Nestlé Responsible Sourcing Standard, NESTLÉ 9,
https://www.nestle.com/sites/default/files/asset-
library/documents/library/documents/suppliers/nestle-responsible-sourcing-standard-english.pdf.


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hazardous work, and where Nestlé knows many of those child laborers were trafficked from

Mali and Burkina Faso.

         33.   The Nestlé Cocoa Plan provides additional insight into its own “efforts to tackle

child labor.” In the “Tackling Child Labour 2017 Report,” the company lauds its own efforts,

which involve the monitoring of 40,728 five-to-seventeen-year-olds and the identification of

7,002 child laborers currently working on farms covered by the Cocoa Plan. The report is self-

congratulatory, despite its more quiet acknowledgement that monitoring efforts only covered

one-third of Nestlé’s supply chain. 48 As previously discussed, in meetings with a team from

IRAdvocates, officials at the WCF, the ICI, and FLA in 2019 admitted that this estimate is high

and, at most, twenty to thirty percent of any member’s cocoa supply chain is within any of their

programs. Even if Nestlé’s one-third figure is accepted as true, Nestlé is still implicitly

admitting that two thirds of its cocoa supply chain is not within its program—and officials at the

WCF, ICI and FLA acknowledge that child labor is rampant in the “free zones” of cocoa

production and that trafficked children also work in those areas. Thus, like other leading

chocolate companies, the majority of Nestlé’s cocoa is sourced through untraceable channels,

where no monitoring takes place and forced child labor and trafficking occur on a widespread

basis.

         34.   Even within the small percentage of plantations actually covered by the Cocoa

Plan, there exists no effective system of monitoring or remediation. Nestlé admits that within

the seventy co-operatives in Côte d’Ivoire that supply the small amount of traceable cocoa

bought by Nestlé, only tenty-two have implemented Nestlé’s Child Labor Monitoring and



48
   Nestlé Cocoa Plan, Tackling Child Labor 2017 Report, NESTLÉ, ICI 11,
https://www.nestle.com/sites/default/files/asset-library/documents/creating-shared-
value/responsible-sourcing/nestle-cocoa-plan-child-labour-2017-report.pdf.


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Remediation System (CLMRS). In other words, even in the small number of cooperatives where

the cocoa is traceable to known farmers, monitoring activities through the Nestlé Cocoa Plan

CLMRS take place in only a fraction. There is no secondary system for child labor monitoring

and remediation.

       35.     Further, Nestlé’s CLMRS system is ineffective. It purports to be a community-

based monitoring system to identify and remediate child labor. Nestlé’s plan relies on either

Community Liaison People (community auditors) to spot children engaged in labor activities, or

on the children themselves to self-declare that they are engaging in a hazardous activity. There

are no trained independent monitors and no consequences for farmers who use child slaves to

harvest Nestlé’s cocoa. This is evidenced by Nestlé’s finding that

       Cases of forced labor are rare in Nestlé's cocoa supply chain. Since 2012, we have
       uncovered three violations of forced labor guidelines and immediately took action
       to report and remedy them. The cases were identified in 2013, 2014 and 2015. Since
       the publication of the 2017 Tackling Child Labor Report, no further instances of
       forced labor have been identified. This does not mean that forced labor does not
       exist - it may be that we are not good enough at identifying it. 49

       36.     The Nestlé Cocoa Plan reports flagrantly attempt to justify the company’s failure

to stop the use of child labor in its supply chain. The 2017 report cites as a “challenge” to

tackling child labor: “[r]esistance to change: If children have been practicing certain hazardous

activities for years they and their families are often resistant to change. This is especially true

when they have few alternatives, and when working like an adult brings them status amongst

their peers.” 50 This unapologetic blame-shifting continues in Nestlé’s 2019 report, which states




49
   Nestlé Cocoa Plan, Tackling Child Labour 2019 Report, NESTLÉ 24 (2019),
https://www.nestle.com/sites/default/files/2019-12/nestle-tackling-child-labor-report-2019-
en.pdf (emphasis added).
50
   Tackling Child Labor 2017 Report, supra note 48, at 42.


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that “[c]ertain aspects of the laws surrounding child labor can be confusing for farmers and can

directly conflict with their beliefs and traditions.” 51

          37.    Nestlé makes false assurances that it is determined to “tackle” the problem and

that its Nestlé Cocoa Plan is helping to “eliminate the use of child labour” and “stamp out

forced labour practices” in the Ivorian cocoa industry. Nestlé also claims that it is “improv[ing]

the lives of farmers” through the Plan. 52 However, Nestlé’s profiteering from child labor does

not help the lives of farmers. Child labor has only increased in Côte d’Ivoire since Nestlé

instituted its Cocoa Plan. And Nestlé has yet to commit to even paying farmers a fair price for

their cocoa and does not currently have any long-term plans to support farmers achieving a

living income.

          38.    In the face of its empty promises, Nestlé still had the chutzpah to oppose a

proposed law in Australia that would require companies to report on child slaves in their supply

chain. In late April 2019, Nestlé issued a warning against the proposed legislation that would

mandate that Nestlé report on its efforts to weed out slavery within their company. The

company claimed the cost of checking whether its suppliers were forced to work against their

will would end up being passed on to the consumer. There is no way for Nestlé to tell if it is on

the verge of ending the use of child slaves, as it claims, if it deliberately refuses to count or

survey its operations. This refusal amounts to willful blindness—and willful obfuscation of its

practices.

          39.    The Nestlé Cocoa Plan is a clear attempt to vindicate the company to the public

without requiring it to take tangible actions to eradicate this widespread scourge. The plan thus




51
     Tackling Child Labor 2019 Report, supra note 49, at 60.
52
     Id. at 6.


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deceives consumers into believing that buying Nestlé’s products will actually benefit farmers in

Côte d’Ivoire and misleads them into thinking the products are reliably child labor- and slave

labor-free.

b. Cargill

       40.     Cargill Cocoa is a major cocoa bean originator and processor incorporated in

Pennsylvania. It is a subsidiary of Cargill, Incorporated Company (Cargill), one of the largest

privately-held corporate providers of food and agricultural products and services worldwide.

Cargill is headquartered in Minnesota and incorporated in Delaware. Cargill Cocoa offers a

wide range of high-quality cocoa powder, butter, and liquor products under the Gerkens and

Wilbur brands to leading manufacturers of food, chocolate, and confectionery products

worldwide. Products are sold through an international network of offices, agents, and

distributors. However, evidence in the public record indicates Cargill has a long history of

profiting from child slavery in cocoa production.

       41.     Cargill Cocoa & Chocolate North America is responsible for Cargill’s

partnerships with farmers in Côte d’Ivoire. Cargill’s facilities include a production facility in

Côte d’Ivoire that produces cocoa liquor, butter, powder, and origination of cocoa beans. As

Carol Off, author of Bitter Chocolate, notes, Cargill is possibly the largest privately-owned

corporation in the world; its influence over the food we eat, in terms of where it comes from and

how it is produced, is staggering. 53 Cargill has a more visible presence in Côte d’Ivoire than any

other cocoa importer. There are numerous cocoa cooperatives large and small that have

exclusive relationships with Cargill. At one large cooperative in Duekoue that produces for




53
  Carol Off, Bitter Chocolate: Investigating the Dark Side of the World’s Most Seductive Sweet,
VINTAGE CANADA (2006).


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Cargill, the owner told counsel for Plaintiff that a local representative from Cargill visited his

cooperative on a weekly basis and that a Cargill representative from the company headquarters

visited about once a year.

       42.     As part of their ongoing and continued presence on the cocoa farms in Côte

d’Ivoire—for purposes of quality control, pesticide eradication, cultivation assistance,

harvesting, and packing and shipping, among other activities and assistance to the farmers—

Cargill has first-hand knowledge of the widespread use of child slave labor in harvesting cocoa

on the farms they work with and purchase from. This direct knowledge of child labor is

supplemented by well-documented and prevalent information provided by many public news

articles and reports of child labor by both international and U.S. organizations.

       43.     After signing on to the Harkin-Engel Protocol in 2001, Cargill posted a series of

promises and pledges about its intention to stop using child slaves in its supply chain. These

promises and pledges were largely misleading, as none of the stated objectives for solving the

child labor problem or reducing its incidence in Cargill’s supply chain were met. Cargill’s

claims from 2005 to 2015 are detailed in the Second Amended Complaint in Doe v. Nestle, Case

No. CV 05-5133-SVW-MRW (C.D. CA 2016) at ¶¶ 40 and 59. They indicate Cargill’s

supposed intentions were false, or at best, that Cargill was not as serious about these intentions

as it pretended to be.

       44.     Cargill has recently rolled out a new set of promises and pledges to stop using

child slaves that are likewise misleading and empty. On Cargill’s “Ethics and Compliance”

webpage, it lists as its number one guiding principle, “[w]e obey the law . . . [a]s a global

organization privileged to do business all over the world, we have the responsibility to comply




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with all of the laws that apply to our businesses.” 54 Cargill’s ongoing and admitted profiting

from child slaves harvesting cocoa in its supply chain violates universally recognized law

prohibiting the use of young children to perform any work, and certainly hazardous work.

       45.     Cargill introduced a new gimmick in 2017 called the Cargill Cocoa Promise,

which states on its “Cocoa Promise in Action” page:

       At Cargill Cocoa & Chocolate, we believe that improving the lives of cocoa farmers
       goes hand-in-hand with our business success – and the success of the sector as a whole.
       While we are proud of the progress we are making, there is still much to do. To achieve
       a fully sustainable cocoa sector, we’re going to have to learn faster, try harder, and go
       further – together. 55

Goal Two of the “Cargill Cocoa Promise” is “Community Wellbeing,” with the specific goal of

“[z]ero incidents of child labor in our supply chain by 2025.” 56 Within these statements, the

conglomerate is tacitly admitting to the existence of child labor in its supply chain.

       46.     On Cargill’s website, the company describes its efforts to address the known

child labor in its supply chain in Côte d’Ivoire that it and the other large cocoa companies

promised to end back in 2001 when the Harkin-Engel Protocol was signed:

       Since 2016, Cargill has used a Child Labor Monitoring and Remediation System
       (CLMRS), which we co-designed with the International Cocoa Initiative (ICI), to
       address child labor in the cocoa supply chain. CLMRS brings networks of local
       coaches and monitoring agents to visit farms year-round, working with families to
       raise awareness about the impact of child labor, identify incidents, and implement
       prevention and remediation programs. Cargill also works together with our partners
       to address the root causes of child labor by improving access to education, helping
       farmers to increase their incomes; expanding economic opportunities for women;
       and delivering programs that improve health, nutrition, and food security in cocoa
       communities. Our goal, by 2025, is to have a CLMRS in place to identify and
       address child labor throughout our direct cocoa supply chain, along with
       monitoring, prevention, and remediation approaches tailored for local needs. 57


54
   Cargill Code of Conduct, CARGILL, https://www.cargill.com/about/code-of-conduct.
55
   Our Stories, CARGILL, https://www.cargill.com/sustainability/cocoa/our-stories.
56
   Committed to More: 2016/2017 Cargill Cocoa Promise Global Summary Report, CARGILL 7,
https://www.cargill.com/doc/1432099950824/cargill-cocoa-promise-report-2016-17.pdf.
57
   Human Rights, CARGILL, https://www.cargill.com/sustainability/human-rights.


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       47.     As stated in paragraph 24-27, supra, the CLMRS does not even purport to be a

complete monitoring and certification system. There are no independent monitors, there are no

surprise inspections, and there are no consequences to farmers or Cargill when child slaves are

found to be working in Cargill’s supply chain. These are the most basic foundations of a

credible monitoring system. The deficiencies of the CLMRS system is evidenced by Cargill’s

own report of its methodology, which states that “Cargill trains farm extension workers” and

these “farmer coaches visit households throughout the year” to report if any child labor was

identified. 58 Relying on farmers who have been using child slaves to now become “farmer

coaches” is an incredibly cynical example of hiring the fox to guard the chicken coop.

       48.     The Cargill Cocoa Promise assured consumers in its 2017/2018 report that “more

than 21,000 members of farm families including 5,400 farmers and nearly 8,400 children were

reached with information about child labor prevention and monitoring services. In 2018, an

additional 25,000 members of farming families were reached, and the program is expanding

further in 2019 and beyond.” 59 In its 2021 report, Cargill claims that “51,708 farming

households” were included in CLMRS; however, this number includes households in “Côte

d’Ivoire, Ghana, Cameroon, and Indonesia.” 60 Of this number, 32,220 were located in Côte

d’Ivoire. 61 After twenty-three years of inaction, Cargill covering this number of farming

households with its faulty monitoring system is shockingly inadequate. Cargill is clearly hoping




58
   Committed to More Infographic, CARGILL, https://www.cargill.com/doc/1432121706389/ccc-
committed-to-more-ending-child-labor-infographic.pdf.
59
   Id.
60
   Cocoa and Chocolate Sustainability Progress Report 2021, CARGILL 12,
https://www.cargill.com/doc/1432213708736/cargill-cocoa-sustainability-progress-report-
2021.pdf.
61
   Id. at 24.


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that consumers and regulators without knowledge of the cocoa industry will be impressed that

Cargill is reaching out in any way to 32,000 farms. But as Cargill well knows, that number

represents a miniscule proportion of the farms producing cocoa. The WCF admits that: “[t]he

organized supply chains of a handful of companies reach only a fraction of the entire cocoa-

growing population of Côte d’Ivoire and Ghana, and efforts to date have only reached a fraction

of the farmers in those supply-chains.” 62 And, as stated above, these supposed CLMRS efforts

include contacting farmers with mere “information about child labor prevention,” which is

absolutely ineffective even if Cargill had done this for every cocoa producing person in the

world.

         49.   Cargill also claims it has implemented an innovative “bar code” system to track

bags of cocoa produced within the CLMRS system. Again, even if this digital tracing system

worked perfectly, CLMRS is only operating in a small portion of Cargill’s supply chain, and the

rest of their cocoa comes from the unregulated free zone. Cargill claims in its 2021 report that

“100% of our direct supply chain is traceable up to the first point of purchase”; however, of its

indirect supply chain, only “10% of the cocoa is traceable to the first point of purchase,” and

“78% is traceable to sourcing region.” 63 This vague language is intended to obscure the fact that

seventy to eighty percent of Cargill cocoa comes from the completely unregulated free zone, as

aforementioned interviews by Plaintiff’s counsel uncovered. Further, based on an investigation

by Plaintiff’s counsel in March 2019, the owner of one major Cargill cooperative—controlling




62
   2018 Child Labor Cocoa Coordinating Group 8th Annual Meeting Remarks, supra note 37.
63
   Cocoa and Chocolate Sustainability Progress Report 2021, CARGILL16,
https://www.cargill.com/doc/1432213708736/cargill-cocoa-sustainability-progress-report-
2021.pdf.


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over 1,000 member farms—admitted he had not yet even received training for the bar code

system. He showed the bar code electronic device, brand new in the box, to Plaintiff’s counsel.

         50.   The Cargill cooperative owner also admitted that there is no way that Cargill

could know if farmers put cocoa beans that were produced outside of the CLMRS system into

the Cargill bags. Without effective monitoring, farmers are free to purchase beans from the free

zone, pass them off as CLMRS beans, and receive whatever premium Cargill offers for CLMRS

beans.

         51.   Cargill clearly has a long way to go to meet its stated goal of “[z]ero incidents of

child labor in our supply chain by 2025.” 64 But based on the long history of Cargill and the

other cocoa retailers and chocolate companies doing virtually nothing since signing the Harkin-

Engel Protocol twenty-two years ago, the goal is not to stop profiting from child slavery. The

goal is to deceive regulators and the public and create the false impression that the Cargill

Cocoa Promise is not yet another empty promise. Meanwhile, the alarming results of the NORC

Report conclusively demonstrate that child labor is increasing while Cargill is touting its broken

“Cocoa Promise.”

c. Barry Callebaut

         52.   Barry Callebaut USA LLC (Barry Callebaut) is a U.S. company headquartered in

Chicago and is a subsidiary of Barry Callebaut AG. The company markets and sells cocoa

produced in Côte d’Ivoire in the United States with brands such as Barry Callebaut, Bensdrop,

and Cacao Barry.




64
  Committed to More: 2016/2017 Cargill Cocoa Promise Global Summary Report, supra note
56 at 7.


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       53.     Barry Callebaut claims that it is now working to make sustainable chocolate the

norm. When it launched its “Forever Chocolate” plan in 2016, Barry Callebaut pledged to

eradicate child labor and lift 500,000 farmers out of poverty by 2025. 65 In May 2023, however,

Barry Callebaut delayed its goals further—as it and the cocoa industry have repeatedly done

over the previous two decades—and backed off its promise to eradicate child labor altogether.

Instead, the company’s new “sharpened goals” are for its supply chain to be covered by Human

Rights Due Diligence by 2025 and for farming communities to be “empowered to protect child

rights” by 2030. 66 Barry Callebaut has once again failed to implement effective policies, and

instead has rolled out new vague goals to keep up its public appearance.

       54.     The most recent Forever Chocolate progress report admits that “Barry Callebaut

sources cocoa from regions where child labor, defined as work that deprives children of their

childhood, their potential and their dignity, and that is harmful to their physical and mental

development, occurs.” 67 This acknowledgment is repeated by Barry Callebaut’s internal

“Human Rights Committee,” which states “Barry Callebaut sources cocoa and other

commodities from regions where child labor . . . is widespread.” 68 Again, this is a cocoa

company that brings incredible amounts of cocoa product into the United States each year,

admitting in its own reports that child labor is prevalent in its supply chain. Given the broken



65
   Forever Chocolate Progress Report 2021/22, Eradicating Child Labor, BARRY CALLEBAUT1,
https://www.barry-callebaut.com/system/files/2022-
11/Forever%20Chocolate%20Progress%20Report%202021-22%20Barry%20Callebaut_2.pdf.
66
   Forever Chocolate: Impact Beyond 2025, Barry Callebaut 4 (2023), https://www.barry-
callebaut.com/system/files/2023-05/Our%20impact%20beyond%202025%20brochure_0.pdf.
67
   Forever Chocolate Progress Report 2021/22, Eradicating Child Labor, supra note 65, at 7.
68
   Safeguarding Human Rights Update 2021/22, BARRY CALLEBAUT, https://www.barry-
callebaut.com/en/group/forever-chocolate/ethical-sourcing-and-business/safeguarding-human-
rights-our-supply-
chain#:~:text=We%20expect%20our%20suppliers%20and,of%20our%20products%20by%2020
25.


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promises of chocolate companies since 2001 to end the exploitation of child labor in their

supply chains, these new promises by Barry Callebaut and others to end exploitation by 2025

are very likely going to be broken as well. Barry Callebaut even references the 2025 goals,

highlighted in public relations material and supposedly mandated by Barry Callebaut’s

membership in WCF and other organizations, as merely a “springboard." 69

       55.     Further, Barry Callebaut’s internal Human Rights Committee acknowledges that

the October 2020 NORC report, and a June 2021 report published by the European Commission

on ending child labor in Côte d’Ivoire and Ghana, concluded that “current efforts to eliminate

child labor are not sufficiently and structurally embedded with a functioning institutional

support system.” 70

       56.     Barry Callebaut claims that its use of the Child Labor Monitoring and

Remediation Systems (CLMRS) and awareness training in collaboration with the International

Cocoa Initiative (ICI) and the World Cocoa Foundation (WCF) will provide the necessary

monitoring to back up their supply chain transparency. However, as previously stated, CLMRS

appears to be a scam to merely create the appearance of meaningful monitoring and

remediation. CLMRS does not provide for independent monitoring or remediation, and there are

no consequences for farmers using child slaves. Most fundamentally, CLMRS is being applied

to a very small percentage of Defendants’ supply chains. Monitoring and remediation is in place

in only eight-one percent of Barry Callebaut’s direct supply chain. 71 However, as the ICI and

WCF admit, chocolate company’s direct supply chains only account for about twenty to thirty

percent of their total supply chain. The company admits that only twenty-three percent of its



69
   Forever Chocolate Progress Report 2021/22, Eradicating Child Labor, supra note 65, at 1.
70
   Id. at 7.
71
   Id. at 10.


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indirect supply chain is sourced from third party suppliers covered by “equivalent child labor

monitoring systems.” 72

         57.   Still, in the minority of farms covered by Barry Callebaut’s monitoring scheme,

the company identified 25,235 cases of child labor. 73 Barry Callebaut claims to tackle the issue

of child labor through awareness training in farmers’ communities. According to the company,

systematic change must happen from within farming communities who need to be aware “of the

consequences of the worst forms of child labor for a child’s development, education, and quality

access to primary, secondary and vocational education.” 74 Its 2017/18 report sheds light on

Barry Callebaut’s plan to “creat[e] a movement” by signing letters of intent with the Ivorian and

Ghanaian governments to “spell out a commitment to increase cooperation on the eradication of

the worst forms of child labor.” 75 These self-policing measures have been failing miserably for

years.

         58.   Barry Callebaut’s Supplier Code confirms that it knows the legal requirements

that prohibit child labor in cocoa harvesting. This Code states suppliers are prohibited from

using child labor in their operations and must respect and realize the principles set forth in the

ILO convention Nos. 138 and 182, respectively, on the minimum age for employment and on

the worst forms of child labor. 76 Barry Callebaut claims to reserve the right to terminate its

business relationship with the supplier if it does not act to remediate non-compliance issues.



72
   Id.
73
   Id.
74
   Forever Chocolate Progress Report 2017/18, BARRY CALLEBAUT 5, https://www.barry-
callebaut.com/sites/default/files/2019-01/barry-callebaut-forever-chocolate-progress-report-
2017-18.pdf.
75
   Id.
76
   Supplier Code, BARRY CALLEBAUT 6 (May 2020), https://www.barry-
callebaut.com/sites/default/files/2020-
05/Barry%20Callebaut%20Supplier%20Code_EN_2020.pdf.


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Barry Callebaut’s Code of Conduct accordingly condemns forced labor, child slavery and other

practices that exploit children or expose them to harmful conditions. 77 However, there is no

record of enforcement of these clear objectives, and given that Barry Callebaut’s supply chain is

still riddled with child slavery, its Code of Conduct serves only as a clear admission that the

company is knowingly violating fundamental laws and principles as it continues to profit from

child slavery. The NORC Report confirms that, rather than contributing to overall progress on

reducing child labor (let alone eliminating the practice), child labor has increased since Barry

Callebaut rolled out its unenforced Code of Conduct.

d. Mars

       59.     Mars, Incorporated (Mars), by far the largest manufacturer of chocolate in the

world, is a privately held corporation with its U.S. headquarters in McLean, Virginia. It operates

its cocoa business and sales in the U.S. through Mars Wrigley Confectionary, which is

headquartered in Chicago, Illinois. Mars sells and markets cocoa products all over the United

States, with much of its supply hailing from Côte d’Ivoire. Like other chocolate manufacturers,

Mars admits the ongoing existence of child labor and forced child labor in its supply chain.

After years of knowingly benefiting from child slavery, it claims it is trying to fix the problem

with its “Five Principle Plan.” 78 These five principles are “Quality, Responsibility, Mutuality,

Efficiency and Freedom to life every day.” 79 Mars has developed a “global human rights

approach” to focus its principles on issues of human rights violations. Specifically, Mars states

that its “Supplier Code of Conduct outlines our global human rights expectations of all first-tier



77
   Code of Conduct, BARRY CALLEBAUT 9 (2023), https://www.barry-
callebaut.com/system/files/2023-04/Barry%20Callebaut_Code%20of%20Conduct.pdf.
78
   The Five Principles, MARS, https://www.mars.com/about/the-five-principles.
79
   See Id.; California Transparency in Supply Chains Act, MARS, https://fin.mars.com/en/ca-
supply-chain-act?language_content_entity=fi.


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suppliers, including workplace standards and guidelines aligned with the International Labour

Organization’s Fundamental Principles and Rights at Work. It prohibits the use of prison, slave,

bonded, forced and indentured labor and human trafficking.” 80 This includes “Child labor,

forced labor, including slavery and human trafficking, and migrant labor.” 81 As with the other

Defendants, these high-minded words and standards merely serve to prove that Mars’ ongoing

use of child slavery violates its own standards.

       60.     Mars continuing to profit from child slavery violates the fundamental principles

to which Mars purports to adhere. Such principles can be found in its Human Rights Policy

statement:


       Significant, complex and systemic human rights issues persist in the global
       economy and affect people in a number of extended supply chains that we
       ultimately rely on as a business. These challenges are often linked with poverty,
       weak rule of law or the vulnerability of migrant workers. For example, the
       International Labour Organization (ILO) estimates that more than 85 million
       children are working under hazardous conditions, most in the agriculture sector,
       and that more than 21 million people are victims of forced labor around the world.
       Mars does not control and has very limited influence over operations in our
       extended supply chains. Nevertheless, we believe these practices are unacceptable
       and that we must renew our individual and collective efforts to take action, boldly
       test new approaches and form new collaborations to drive sustained progress. 82

       In consultation with human rights experts and through thorough review of publicly-
       available data we have identified forced labor and child labor as the human rights
       issues that may pose the most severe risk to people in our extended supply chains. 83




80
   Id.
81
   Id.
82
   Human Rights Position Statement, MARS, https://www.mars.com/about/policies-and-
practices/human-rights.
83
   Id.


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       At Mars, we seek to promote and respect human rights across our entire value chain.
       From factory workers in Chicago to farmers in Côte d’Ivoire, we believe everyone
       touched by our business should be treated with dignity, fairness and respect. 84

       61.      Mars claims to have a plan to address its ongoing use of child slavery in five

steps. 85 First, Mars will work on verifying the supply chain, not through traceability, but by

giving the third-party cocoa suppliers Mars’ Supplier Code of Conduct and encouraging

suppliers to implement relevant systems. Additionally, Mars “periodically engage[s] suppliers in

training and awareness raising to drive continuous improvements.” 86 This is just as ineffective

as Cargill’s mere provision to farmers of information about child labor’s harms, discussed in

para. 48, supra. Second, Mars aims to fix human rights abuses by auditing suppliers: “[i]f a

supplier repeatedly fails to meet our Code and other verification standards and does not credibly

commit to meeting them in a given time period, we may terminate our relationship.” 87 Third,

Mars promotes the certification of suppliers, but only requires that “suppliers . . . maintain

transparent records to demonstrate compliance with applicable law and regulations.” 88 Fourth,

Mars aims to build international accountability, which is done through “purchasing teams and

buyers . . . tak[ing] a course in responsible sourcing and hav[ing] related criteria embedded in

their personal development plans.” 89 Finally, Mars aims to increase training for Mars

associates—namely, training people who have knowingly profited from child slavery, and

continue to do so. Mars’s entire plan is centered around self-monitoring, which clearly has not




84
   Our Approach to Respecting and Promoting Human Rights, MARS,
https://mex.mars.com/en/news-and-stories/articles/our-approach-respecting-and-promoting-
human-rights?language_content_entity=en.
85
   California Transparency in Supply Chain Act, supra note 79.
86
   Id.
87
   Id. (emphasis added).
88
   Id.
89
   Id.


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worked based on the massive amounts of cocoa still sourced with child slavery; it is nothing

more than a public relations ploy to hide Mars’ ongoing use of child slavery. As noted, under no

circumstances is self-monitoring considered a legitimate and reliable process for addressing

serious supply chain issues. While WCF lists Mars as one of the nine companies committed to

“CocoaAction,” Mars does not discuss this sham program in its own materials.

       62.     Mars, while admitting it still has child slaves in its supply chain, doubles down

on emphasizing that the use of child slavery violates international law, U.S. law, California law,

and Mars’ own standards:


       In accordance with the UN Guiding Principles, we will advance respect for human
       rights in our value chain by implementing a due diligence process to identify
       relevant adverse impacts on human rights and establish or support appropriate and
       effective mechanisms for prevention and remediation. No matter where we operate,
       Mars strives to comply with the spirit and the letter of the law. Where local laws
       are less stringent than our Policy, we will operate in accordance with this Policy
       and our Five Principles. 90

       We are seeking to advance respect for human rights in our extended agricultural
       supply chains, which reach past our first-tier suppliers all the way to the farm or
       fishery level. Some of the most serious human rights issues in our value chain may
       be at the farthest ends of our agricultural supply chains, where our influence and
       visibility are typically low. 91

       We expect our first tier suppliers to align with our Code of Conduct, including its
       provisions on forced labor, by affirming their commitment to uphold our Code or
       demonstrating an equivalent policy of their own. Suppliers are expected to maintain
       transparent records to demonstrate compliance with applicable law and
       regulations. 92

       63.     In emphasizing new promises to improve compliance in its supply chain, Mars

fails to inform the public and regulators what it knows: according to WCF and ICI, Mars, like



90
   Our Human Rights Policy, MARS, https://www.mars.com/about/policies-and-practices/human-
rights-policy/.
91
   Our Approach to Respecting and Promoting Human Rights, supra note 84.
92
   California Transparency in Supply Chain Act, supra note 79.


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the other Defendants, gets seventy to eighty percent of its cocoa from the “free zone,” and while

progress in the monitored zones is failing, there is absolutely nothing in Mars’ sham plan to

address the child slavery and trafficking in the “free zone.” And as the NORC Report makes

clear, child labor has dramatically increased in the years since Mars launched its failed program.

e. Hershey

       64.     According to the International Cocoa Organization, Hershey, an international

chocolate producer headquartered in Hershey, Pennsylvania, is the fifth largest manufacturer of

chocolate products in the world. The company’s own materials admit to the existence of child

labor in its supply chain. Hershey states, “[w]e are on track to meet our commitment of 100

percent [CLMRS] coverage of farmers producing Hershey’s cocoa volume in Côte d’Ivoire and

Ghana by 2025, achieving 6 percent since we began implementing CLMRS in 2018.” 93 Within

this sixty-two percent of monitored farms, “7,408 children in total were identified via CLMRS

in Côte d’Ivoire and Ghana in 2022 as doing inappropriate work and are in process of

remediation.” 94 Since 2018, the company has identified 18,927 such children, and reports that

6,167 are no longer part of that group, either due to remediation, or because they aged out. 95

Hershey applauds itself for rehabilitating a small percentage of the child laborers it identified,

while flagrantly admitting that many of the rehabilitated simply no longer qualify for

monitoring because they “aged out” of the program. For the few former child laborers Hershey

claims to have remediated, there is no transparent reporting or programmatic descriptions



93
   Child Labor Monitoring and Remediation, HERSHEY,
https://www.thehersheycompany.com/en_us/home/sustainability/sustainability-focus-
areas/cocoa/child-labor-monitoring-and-remediation-system.html.
94
   Id.
95
   The Goodness Inside, 2022 ESG Report, HERSHEY 32, 40,
https://www.thehersheycompany.com/content/dam/hershey-corporate/documents/pdf/hershey-
2022-esg-report.pdf#page=24.


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regarding what remediation actually entails. There are serious reasons to doubt that Hershey and

the other companies do anything more than simply remove child workers from the plantations,

or provide information to farmers on the harms of child labor without further follow-up.

        65.     Like the other companies, Hershey attempts to exonerate its use of child labor by

shifting blame to the impoverished communities it exploits for cheap labor. On its 2021 ESG

Report, it states:

        In cocoa-growing communities, child labor is a complex issue resulting from a mix
        of poverty, cultural norms, and misunderstandings about what constitutes
        appropriate child work. In many communities, child-appropriate work on the family
        farm or in the household is an important part of young people’s learning and
        cultural development. However, a lack of stable income and educational
        opportunities in rural areas can lead families to depend on children putting in long
        hours at home and on the farms, which are often the families’ sole source of
        income. 96

This paternalistic and condescending attitude towards the communities that enrich Hershey

through their chocolate production is reprehensible. Hershey resigns itself to the sad reality that

child labor is necessary in these communities, where poverty is rampant, without addressing how

these issues could easily be rectified by paying farmers living wages.

        66.     Hershey claims that it knows profiting from child slavery violates international

law, U.S. law, and its own code of conduct and supplier standards. In its Statement Against

Slavery and Human Trafficking, Defendant Hershey states it is “committed to operating

responsibly and sustainably throughout the world.” 97 This document also states that:




96
   Powered by Shared Goodness, 2021 ESG Report, HERSHEY 24,
https://www.thehersheycompany.com/content/dam/hershey-
corporate/documents/pdf/hershey_2021_esg_report.pdf.
97
   Hershey Company Statement Against Slavery and Human Trafficking, HERSHEY 1,
https://www.thehersheycompany.com/content/dam/corporate-
us/documents/pdf/HSY_Statement_Against_Human_Trafficking_and_Slavery.pdf


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      Hershey is purchasing 100% independently verified cocoa and each program
      prohibits the use of forced and child labor. 98

      Onsite Audits: Hershey facilities undergo the 4-Pillar Sedex Member Ethical Trade
      Audit (“SMETA”) on a three-year cadence, and more frequently as needed based
      on issue remediation or per customer requests. 99

      Responsible Sourcing Supplier Program: Our Responsible Sourcing Supplier
      Program (“Supplier Program”) verifies our Tier 1 suppliers’ compliance with our
      Supplier Code. The program is aligned with our saliency assessment of our most
      significant human rights issues and leverages third-party verification tools,
      including self-assessment questionnaires (SAQ) and independent third-party audits.
      The high-risk and priority suppliers in Hershey’s program are required to complete
      or update their facility’s Sedex SAQ or equivalent on an annual basis and undergo
      the SMETA 4-Pillar social compliance audit or equivalent on a cadence determined
      by risk and historic performance. The Supplier Program also promotes ongoing
      training and capability-building and works to drive suppliers’ continuous
      improvement.

      When a Supplier Code violation is identified, the Hershey Global Responsible
      Sourcing team reviews the findings and suppliers are required to develop a
      corrective action plan that includes addressing the root cause of the issues. A
      follow-up audit is then required to verify that the non-conformity has been
      addressed. In instances where a supplier is unwilling or unable to remediate
      violations in the appropriate timeframe, Hershey reserves the right to suspend or
      remove the supplier. 100

      67.     In its Code of Conduct, Hershey states:

      Our business is built on a long, interdependent supply chain, and we want every
      link to be solid and strong. We have zero tolerance for the worst forms of child
      labor as defined by International Labor Organization Conventions 138 and 182 and
      expect suppliers to support and participate in industry efforts aimed at eliminating
      these kinds of practices wherever they exist. We respect the rights of every
      individual and believe that anyone employed by Hershey or Hershey suppliers
      should be treated with dignity and respect, paid a fair wage based on applicable law
      and assured of safe working conditions. 101




98
   Id. at 7.
99
   Id. at 5.
100
    Id. at 6.
101
    In Good Company, Code of Conduct, HERSHEY 11,
https://www.thehersheycompany.com/content/dam/hershey-corporate/documents/investors/code-
of-conduct-english.pdf.


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       As a company, we respect the rights of every individual and abide by the
       employment laws in the markets where we operate. We support the principles
       established under the United Nations Universal Declaration of Human Rights and
       do not knowingly conduct business with any individual or company that
       participates in the exploitation of children (including child labor), physical
       punishment, forced or prison labor or human trafficking. 102

       [Encourage employees to] [f]ollow the employment laws where you work, be alert
       to abuses and speak up if you see or suspect possible labor law or human rights
       violations. 103

       68.     Hershey also has available on its website its Supplier Code of Conduct, which it

describes as the “backbone of Hershey’s commitment to a responsible and sustainable supply

chain.” 104 The Supplier Code of Conduct lays out Hershey’s policies with regard to, among

other things, child labor:

       Hershey does not tolerate child labor in our supply chain. We are committed to the
       elimination of the “worst forms of child labor,” as defined by ILO Convention 182.
       Hershey requires our Suppliers, including their labor agents/agencies, to prevent
       child labor in their operations and in their supply chain and encourages our
       Suppliers to participate in industry efforts aimed at the elimination of such practices
       wherever they exist in the supply chain.

               • No individuals are hired under 15 years of age, or 14 years of age where
               local law allows, consistent with ILO Convention No. 138, or under the
               legal minimum age for employment in the country, whichever is greatest.

               • Any employment or utilization of Workers under the age of 18 must not
               interfere with schooling or vocational education and/or expose children and
               young workers (between 15 and 18 years) to work that is mentally,
               physically, socially or morally dangerous. 105

       69.     The Supplier Code of Conduct also lays out Hershey’s policy regarding forced

labor and human trafficking:



102
    Id.
103
    Id.
104
    Hershey Company Statement Against Slavery and Human Trafficking, supra note 97, at 2.
105
    Hershey Company Supplier Code of Conduct, HERSHEY 4 (2023),
https://www.thehersheycompany.com/content/dam/corporate-us/documents/partners-and-
suppliers/supplier-code-of-conduct.pdf.


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          Hershey does not tolerate forced labor or human trafficking in our supply chains.
          Hershey requires that all labor in its supply chain be voluntary and that workers are
          allowed freedom of movement. All forms of forced labor and human trafficking are
          prohibited including but not limited to any form of prison, slave, bonded or forced
          indentured labor.

                    • The recruitment, transportation, transfer, harboring or receipt of persons,
                    by means of threat or use of force, coercion or other means, for the purpose
                    of exploiting them is prohibited.

                    • In advance of employment, Suppliers, including their labor
                    agents/agencies, provide Workers with written, accurate and
                    understandable information in a language understood and acknowledged by
                    the Worker regarding the basic terms and conditions of their employment
                    clearly stating their rights and responsibilities as well as information on
                    wages, working hours, overtime, benefits, leave and disciplinary
                    procedures.

                    • Workers are free to leave work and terminate their employment upon
                    reasonable or legally required notice without penalty. 106

          70.       The Code further states:

          Suppliers must establish adequate and effective management systems, policies,
          procedures, financial documentation non-compliance and grievance procedure, and
          training programs to uphold and ensure ongoing compliance with all applicable
          laws and standards, including this Supplier Code within their own business
          operations and supply chain.

          We reserve the right to verify compliance with this Supplier Code , at the Supplier’s
          own expense, through internal and external assessment mechanisms, such as self-
          assessment questionnaires, announced and unannounced on-site independent third-
          party audits, and worker well-being surveys. Such audits may inspect Suppliers’
          facilities, operations, books and records, and supplier-provided housing, and
          confidential worker interviews. If non-compliances are observed, the supplier will
          be required to take corrective actions. 107




106
      Id. at 4-5.
107
      Id. at 14.


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       71.     Hershey’s website further states, on its Responsible Sourcing page, that its Global

Sourcing Policies include dedication to “a transparent supply chain.” 108 Hershey promises that

“[w]e are committed to complying with the California Transparency in Supply Chains Act of

2010, as well as the United Kingdom Modern Slavery Act. As part of our commitment to Good

Business practices, we constantly strive to ensure our supply chains are responsibly managed.” 109

       72.     Hershey knows it has been profiting from child slavery for years, and since 2001,

when it endorsed the Harkin-Engel Protocol through the Chocolate Manufacturers Association

and later through the WCF, it has failed to take effective action to stop profiting from child

slavery. The NORC Report dramatically establishes that Hershey has continued to benefit from

increased numbers of child workers in its cocoa supply chain.


f. Mondelēz

       73.     Mondelēz International Inc. is a U.S.-based international chocolate producer

headquartered in Deerfield, Illinois. Its major cocoa products containing cocoa produced in Côte

d’Ivoire include Cadbury Chocolates and Dairy Milk. It manufactures, distributes, and sells its

cocoa products all over the United States. On its website, it states:

       We believe that in order to drive long-lasting positive change for children in cocoa-
       growing regions, all actors along the cocoa supply chain should play their part to
       help combat the systemic issues underlying child labor. This is why, as founding
       members, we support the work of the World Cocoa Foundation (WCF) and the
       International Cocoa Initiative (ICI), aiming to help combat the root causes of child
       labor and drive efforts to strengthen public-private partnership with governments,
       development partners and civil society organizations. 110



108
    Responsible Sourcing, HERSHEY,
https://www.thehersheycompany.com/en_us/home/sustainability/sustainability-focus-
areas/responsible-sourcing.html.
109
    Corporate Polices and Global Sourcing, HERSHEY,
https://www.hersheytrading.ch/en_us/sustainability.html.
110
    MONDELĒZ, https://www.cocoalife.org/the-program/child-protection/.


                                                                                                  43
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       74.      Mondelēz International thus admits that there is still child slavery in its supply

chain. Like most of the other chocolate companies, it is doing little to stop profiting from child

slavery. It instead chooses to refer the public and regulators to its “Cocoa Life” program, which

relies upon the “monitoring” and “remediation” of the CLMRS system, which, as established

above, is a sham. There is no independent monitoring, no remediation, and no consequences for

using child slaves, and the CLMRS applies, at most, to twenty to thirty percent of Mondelēz

International’s supply chain. Hoping to deceive or distract the consuming public and regulators,

Mondelēz International goes on at length to describe its sham programs.

       75.      Mondelēz’s Cocoa Life website dedicates an entire section to child labor. This

Child Labor page states:

       Our approach to eliminating child labor is three-pronged: it focuses on prevention,
       monitoring and remediation, with a heavy emphasis on addressing the root causes of
       child labor. Cocoa Life – our company program for sustainable cocoa – addresses the
       root causes of child labor around poverty and lack of rural development with holistic
       approach. 111

The company continues by describing its action plan, which includes:

       •     Increase income from cocoa farming as well as additional sources
       •     Empower communities to advocate for their own development
       •     Empower women at household and community level
       •     Prosperous cocoa farms mean farmers are less likely to rely on their children to
             support in their work. Empowered women and communities, who understand
             their development needs, will push for their children to remain in school. 112

       76.      Mondelēz also goes to great lengths to demonstrate that it knows that child

slavery and profiting from child labor are abhorrent, illegal, and unethical. Mondelēz features on

its website a 2016 study commissioned from Embode that confirms “[t]he issue of child labour,




111
    Child Labor in Cocoa, MONDELĒZ, https://www.mondelezinternational.com/Snacking-Made-
Right/ESG-Topics/Child-Labour-in-Cocoa.
112
    Id.


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including the worst forms of child labour, such as child slavery, has been of significant concern

to the cocoa industry, particularly in West Africa, over the last two decades . . . Despite efforts,

child labour is still largely prevalent in Côte d’Ivoire.” 113 The Report continues, outlining how

forced labor is still present in Côte d’Ivoire:

        most evidence highlights the reality that children’s work and child labour are
        prevalent, in different forms, throughout the country. 114

        Relatively little evidence is available relating to child slavery, or practices similar
        to child slavery in the sector. Stakeholder consultations also revealed a general lack
        of prioritisation of and sufficient attention to these more egregious forms of child
        exploitation. Police recently identified and recovered 48 alleged ‘child slaves’ aged
        5 to 16 from cocoa farms, and arrested 22 alleged traffickers. This calls urgent
        attention to the significant concern of child trafficking and slavery in the sector. 115

The commissioned report itself highlights the persistent failures of Mondēlez and similar

companies, stating that “[c]hild labour, in all its forms, including child slavery, is a tenacious

problem in Côte d’Ivoire. Even after 15 years of dedicated efforts and millions of dollars of

investment, the problem continues, and arguably grows.” 116

        77.     The company states on its Snacking Made Right page that it is “on a mission to

lead the future of snacking by creating snacks the right way for both people and planet to love . .

. We have specific goals to which we hold ourselves accountable, and we’re continuing to make

progress and scale our efforts to deliver meaningful change.” 117




113
    Aarti Kapoor, Children at the Heart: Assessment of child labour and child slavery in Côte
d’Ivoire’s cocoa sector and recommendations to Mondelēz International, EMBODE 6 (2016),
https://assets.ctfassets.net/qggsjlmpzfmx/7bqOrCJcDmr04upBCF6SnM/b8560d71bbb5596d18d
062ce56e64124/FULL_REPORT_Cote_Ivoire_Mondelez_Embode_ChildrenattheHeart.pdf.
114
    Id. at 16.
115
    Id. at 6.
116
    Id. at 46.
117
    Snacking Made Right, MONDELĒZ, https://www.mondelezinternational.com/Snacking-Made-
Right.


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        78.    Mondelēz International acknowledges that “[a]s the world’s largest chocolate

company” it is vital to “create a sustainable cocoa supply.” 118 In support of this proclamation, it

references Cocoa Life, one of its “signature programs,” which it states “is a holistic, verified

program that aims to create a sustainable cocoa supply. . . . We are on a journey towards our goal

of empowering at least 200,000 cocoa farmers and reaching over one million community

members.” 119 The company also promises it is committed to “doing business the right way” in its

Code of Conduct. 120 In support of this, it states that it does “not tolerate discrimination,

harassment, bullying, intimidation, or any disrespect to human rights, including child and forced

labor.” 121

        79.    Mondelēz International further cites its published supplier contract provisions,

which states, “[w]e expect our suppliers and partners to . . . Never use or tolerate the use of

human trafficking, forced labor, or child labor as defined by the International Labor Organization

(ILO)” 122 The company also states:

        Our purchasing contracts require suppliers to comply with all laws and support
        Mondelēz International’s policies on child and forced labor. We have various tools
        to address non-compliance, which may include, but are not limited to, a corrective
        action plan. If the supplier does not resolve the issues of concern in a timely and




118
    Cocoa Life: Empowering Cocoa Farmers and Communities: 2015 Progress Report,
MONDELĒZ 1,
https://assets.ctfassets.net/qggsjlmpzfmx/1CCoDMBtJos4Zs8iC4g78q/1d3085e27e75c20790264
7f7d9aacaf9/Cocoa_Life_Executive_Summary.pdf.
119
    Id.
120
    Our Way of Doing Business: The Mondelēz International Code of Conduct, MONDELĒZ 13,
https://www.mondelezinternational.com/-/media/Mondelez/PDFs/employeecodeofconduct.pdf.
121
   Id. at 6.
122
   Supplier & Partner Code of Conduct, MONDELĒZ 1-2,
https://www.mondelezinternational.com/-/media/Mondelez/PDFs/MDLZ-Supplier-and-Partner-
Code-of-Conduct.pdf.


                                                                                                   46
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       satisfactory manner, Mondelēz International reserves the right to take more drastic
       action, such as termination of the business arrangement. 123

Meanwhile, in its Modern Slavery Statement for 2017, Mondelēz writes:

       •    Forced Labor. Supplier will not use any forced labor, which means any work
            or service performed involuntarily under threat of physical or other penalty.
            Supplier shall respect the freedom of movement of its workers and not restrict
            their movement by controlling identity papers, holding money deposits, or
            taking any other action to prevent workers from terminating their employment.
            If workers enter into employment agreements with Supplier, workers should do
            so voluntarily.
       •    Child Labor. Supplier will not directly (or indirectly through the use of its
            subcontractors) employ any children under the age of 18 years unless legal,
            necessary, and appropriate and the following are met:
                    • Supplier will comply with the minimum employment age limit
                       defined by national law or by International Labor Organization
                       (“ILO”) Convention 138, whichever is higher. The ILO Convention
                       138 minimum employment age is the local mandatory schooling
                       age, but not less than 15 years of age (14 in certain developing
                       countries), subject to exceptions allowed by the ILO and national
                       law.
                    • Supplier will ensure that employees working in facilities that are
                       manufacturing or packaging Mondelēz International finished
                       products, serving as temporary employees to Mondelēz
                       International, or present at Mondelēz International facilities, are at
                       least 15 years of age (and no exceptions allowed by the ILO or
                       national law will apply).
                    • Supplier must demonstrate that their employment does not expose
                       them to undue physical risks that can harm physical, mental, or
                       emotional development
       •    Safety and Health. Supplier will (i) endeavor to provide safe working
            conditions, (ii) provide its employees with appropriate protection from
            exposure to hazardous materials, and (iii) provide its employees with access to
            potable water and clean sanitation facilities.
       •    Business Integrity. Supplier will promote honesty and integrity in its business
            conduct by raising ethical awareness among its employees and providing
            direction and education on ethical issues. Further, Supplier will not: pay or




123
   Supply Chain Expectations, MONDELĒZ, https://www.mondelezinternational.com/About-
Us/Our-Way-of-Doing-Business/Supply-Chain-Expectations.


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             accept bribes, arrange or accept kickbacks, or participate in illegal inducements
             in business or government relationships. 124

       80.      Mondelēz’s website contains numerous other sections with similar representations

about its policies with regard to respecting and promoting human rights, ethical and sustainable

sourcing, and child welfare. There is no question that Mondelēz knowingly benefits from child

labor and is extremely aware that its own failure to stop this practice is universally condemned in

the world. The NORC Report confirms its failure to even manage to reduce child labor in its

supply chain.

g. Olam

       81.      Olam International America, Inc. (Olam) does business and sells and promotes its

cocoa products from Côte d’Ivoire all over the United States. 125 It holds itself out as “one of the

world’s leading suppliers of sustainable cocoa.” 126 On its website, Olam claims to be “against all

forms of child exploitation” and actively working to “prevent it” through “a number of

programmes” such as its Child Labor Monitoring and Remediation Systems. 127

       82.      Despite these empty assurances, there is no disputing the evidence of extreme

abuses of child workers in Côte d’Ivoire. Further, Olam’s willingness to make empty promises

while profiting from forced child labor extends to its cocoa supply chain around the world. In




124
    Modern Slavery Statement, MONDELĒZ, at 3-4,
https://www.mondelezinternational.com/~/media/mondelezcorporate/uploads/downloads/mdlz_
modern_slavery_statement_2017.pdf?la=en.
125
    See Olam Food Ingredients, Unicao Cocoa, OLAM,
https://www.olamgroup.com/content/dam/olamgroup/products-and-services/ofi/cocoa/cocoa-
ingredient-brands/unicao/unicao-pdfs/Unicao-BM2001.pdf as one example of Côte d’Ivoire-
sourced cocoa sold in the U.S.
126
    Olam Cocoa Sustainability, OLAM 1,
https://www.olamgroup.com/content/dam/olamgroup/files/uploads/2017/09/Olam-Cocoa-
Sustainability-Overview-2017.pdf.
127
    Id. at 18, 20.


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2021, Brazilian prosecutors sued Olam for $58 million after a report by Brazil’s Federal Labor

Prosecution Office found widespread child labor in the country’s cocoa industry. 128 In a hearing,

the company admitted that cocoa beans obtained through third party producers were “not liable

to tracking.” 129 Further, a group of sixty Ghanaian children aged five to seventeen years old have

initiated an action against Olam, claiming the hazardous work to which they are subjected

violates international and Ghanaian law. They allege that “they have no choice but to help their

families by working on the cocoa farms because the insufficient money paid by Olam to the

cocoa farmers does not allow for them to hire adult workers. This results in absences from

school, food insecurity, and poor living conditions.” 130

       83.     Olam identified 11,194 children in child labor supplying its cocoa, in its “Cocoa

Compass 2020/21 Impact Report.” 131 Again ignoring the effect that paying living wages would

have on these communities, Olam highlights how it supposedly remediates identified cases of

child labor, stating, “[f]or most cases of child labor, raising awareness on what children are and

are not permitted to do on the farm and under what conditions . . . is the first step of

remediation.” 132 It is unclear whether, or how often, Olam actually takes that first step to

remediate—let alone whether Olam takes any second or third steps.




128
    Fabio Teixeira, Exclusive-Cocoa giant in Brazil slave labour probe says it can’t trace
supplies, REUTERS (August 12, 2021) https://www.reuters.com/article/us-brazil-labor-cocoa-
exclusive/exclusive-cocoa-giant-in-brazil-slave-labour-probe-says-it-cant-trace-supplies-
idUSKBN2FD1DO.
129
    Id.
130
    Ghanaian children accuse cocoa supplier Olam of breaching child labour laws, LEIGH DAY
(14 August 2022), https://www.leighday.co.uk/news/news/2022-news/ghanaian-children-accuse-
cocoa-supplier-olam-of-breaching-child-labour-laws/.
131
    Cocoa Compass 2020/21 Impact Report, OLAM 9 (2021), https://publuu.com/flip-
book/24916/132171/page/1.
132
    Id. at 11.


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       84.      Olam outlines its efforts to stop child labor in its supply chain, stating in 2020: 133

       Olam Cocoa has committed to set up dedicated child labour monitoring and
       remediation systems (CLMRS) across 100 percent of our direct sourcing areas.
       Earlier this month, we announced a partnership with the Fair Labor Association
       (FLA) and local cocoa farming cooperatives to digitally register nearly 7,000
       farmer suppliers in Cameroon and their households – the first time these measures
       have been introduced professionally and at scale in Cameroon.

       This digital approach to mapping the child labour issue in the supply chain is the
       first step to resolving the problem. It is essential to allow Olam Cocoa to understand
       where it can best focus resources and efforts to tackle child labour, and to share
       data with partners and cooperatives on the ground so that we can co-create together.

       We’d like to share with you new details and examples from Côte d’Ivoire for the
       period 2018-2019 where CLMRS has been scaled up to cover 185 cooperatives
       from a standing start in 2015. It’s a snapshot of the range of measures necessary to
       make a difference:

       •     … We are establishing 1,638 birth certificates for children who run the risk of
             not being admitted to secondary school as a result of lacking such documents.

       •     …Using the premiums received for the sustainable cocoa that we purchase, our
             cooperatives have constructed 84 classrooms, built four teachers’ residences,
             constructed 2 canteens and refurbished another four schools and a youth hostel,
             as well as equipping schools with school benches, school kits and school books.
             These interventions have improved the quality of education for more than
             22,000 children.

       •     … We have set up over 111 Village Savings and Loans Associations that have
             managed to save nearly $155,000 in total and granted loans of a total value of
             $63,482. Given their success in promoting women’s economic empowerment
             and pooling funds for education expenses for children, we are planning to set
             up another 165 in 2020.

       All of this needs to be embedded in the community and local authority level – to
       that end we have established Child Protection Committees in 33 areas that promote
       awareness of children’s needs.




133
   One intervention is not enough in the fight against child labour, OLAM (April 3, 2020),
https://www.olamgroup.com/news/all-news/blog/one-intervention-is-not-enough-in-the-fight-
against-child-labour.html.


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       85.     Olam professed a goal to “achieve 100% traceable and sustainable cocoa volumes

from [its] direct origination supply chain by 2020.” 134 In September 2020, Olam claimed it

achieved that goal, though in actuality its supposedly 100 percent-accurate tracing of cocoa

beans only applies to the small percentage of directly sourced cocoa beans, as is the

aforementioned pattern among cocoa company self-reporting. 135 In 2020, when Olam claimed

100 percent traceable and sustainable cocoa, even a very company-friendly report that relies on

data supplied by the companies reported that direct supply chains only constituted about half of

cocoa purchased by companies. 136 This is itself a highly suspect number that contradicts

information provided to IRAdvocates by WCF and ICI that at most twenty to thirty percent of

cocoa harvested in Côte d’Ivoire is within a company-sponsored monitoring system. Thus, it is

likely that much more of Olam’s supply chain remains unmonitored.

       86.     The NORC Report confirms that not only did Olam and the other companies fail

to stop using child labor by 2020 as they promised, but that the incidence of child labor has

actually increased. 137 Olam is thus still profiting from child slavery and has no viable plan to

stop the practice. It is hoping to deceive the public and regulators so that it can continue to profit

from child slavery and avoid the costs of actual compliance with the promise it made, along with

other chocolate companies, years ago to stop profiting from child slavery.




134
    Olam Cocoa hits 100% traceability target across its direct global supply chain, OLAM (Sept.
21, 2020), https://www.olamgroup.com/news/all-news/press-release/olam-cocoa-hits-100-
percent-traceability-target-across-its-direct-global-supply-chain.html.
135
    Id.
136
    Antonie C. Fountain and Friedel Huetz-Adams, 2020 Cocoa Barometer, VOICE NETWORK 30
(2020), https://voicenetwork.cc/wp-content/uploads/2020/12/2020-Cocoa-Barometer.pdf.
137
    NORC Report, supra note 5, at 146.


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h. Blommer Chocolate Company

       87.     Blommer Chocolate Company (Blommer) is a chocolate manufacturer based in

Chicago, Illinois, and is the largest supplier of chocolate ingredients in North America,

accounting for around forty-five percent of the cocoa beans processed in the United States. 138

Around seventy percent of Blommer’s business consists of supplying processed chocolate

ingredients to branded chocolate companies. Fuji Oil Holdings, Inc. (Fuji Oil) acquired the

company in 2018. On the company’s landing page, it writes “[w]e pride ourselves on being a

leader in advancing sustainable cocoa farming, playing an active role in the World Cocoa

Foundation and promoting sustainable farming practices through our privately managed

programs in Cote d’Ivoire, Indonesia and Ecuador.” 139 Côte d’Ivoire farms are Blommer’s

primary suppliers of cocoa beans.

       88.     Blommer is a founding member of the WCF, and is a participant in a number of

initiatives such as the African Cocoa Initiative (2011-2016), CocoaAction (2018-2020), Cocoa

and Forestry Initiative (2018-Present), and Sustainable Origins (2007-Present). 140 In 2016,

Blommer promised to only purchase certified cocoa by 2020 141; now, the company itself admits

that “we have not yet fully achieved what we were set out to do.” 142 In Fuji Oil Holding’s

Sustainability Report, the company lists the results of its first and second human rights impact




138
    Phil Rosenthal, Inside Blommer Chocolate: family and cocoa at 75, CHICAGO TRIBUNE (May
18, 2014), https://www.chicagotribune.com/business/ct-xpm-2014-05-18-ct-chocolate-smell-
chicago-blommer-biz-0518-20140518-story.html.
139
    BLOMMER, https://www.blommer.com.
140
    Blommer’s Global Presence in Sustainability, BLOMMER,
https://www.blommer.com/sustainability/global-presence.php#map.
141
    Reuters Staff, Blommer Chocolate to buy only certified cocoa by 2020, REUTERS (Oct. 27,
2016), https://www.reuters.com/article/cocoa-blommer-idAFL8N1CX53R.
142
    Blommers Sustainability Vision, BLOMMER, https://www.blommer.com/sustainable-
origins.php#CocoaCoopMap.


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assessments; both assessments (conducted in 2016 and 2020) identified “forced and child labor”

as a present risk. 143

        89.      In the Fuji Oil’s “Responsible Cacao Sourcing Policy,” one of the company’s

“Key Commitments” reads:

        Eliminating child labor from our supply chain

        We will seek to eliminate child labor from our supply chain through monitoring
        and the provision of remedies; raising awareness in cacao farming communities;
        creating an environment that ensures access to education; and other measures that
        may be appropriate. 144

        90.      Like the corporations above, Blommer lists CLMRS monitoring as its method to

redress child labor and forced child labor within its supply chain. It states:

        The Fuji Oil Group is working to end child labor–a significant human rights issue
        in the cocoa industry. In major cocoa-producing countries, farms face several
        challenges that can lead to child labor, including poverty, lack of community
        infrastructure such as schools and health centers, and lack of farm workers, each of
        which has to be addressed appropriately. The Group focuses on creating an
        environment to prevent child labor and on developing a mechanism to remediate
        any violations of children’s rights along the supply chain. To identify the causal
        factors of child labor and be informed of potential violations, we set up the
        [CLMRS] on a cooperate level at all villages where [Blommer] procures cocoa
        beans. Community agents who monitor and carry out remediation measures are
        trained on child protection and household surveys. They identify endangered
        children and reveal high-risk communities, as well as suggest action plans to
        remediate issues at the family level or throughout the community. Initiatives on
        traceability, supporting cocoa farmers, women’s empowerment, and environmental
        conservation also help significantly in preventing and remediating child labor. 145




143
    Sustainability Report 2022, FUJI OIL HOLDINGS 50,
https://www.fujioilholdings.com/en/sustainability/download/.
144
    Fuji Oil Holdings Inc., Responsible Cacao Sourcing Policy, FUJI OIL HOLDINGS 2,
https://www.fujioilholdings.com/en/news/2018/__icsFiles/afieldfile/2018/08/07/180808_2.pdf.
145
    Sustainability Report 2022, supra note 144 at 73.


                                                                                               53
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As this complaint notes above, these CLMRS monitoring systems are ineffective. They mandate

no independent monitoring, are community-led, and cover only small portions of chocolate

companies’ actual suppliers.

       91.     Blommer’s Labor Compliance Statement notes:

       Blommer does not use any forced labor, allow any work or service performed
       involuntarily under threat of physical or other penalty, nor does Blommer employ
       child labor, specifically anyone under the age of sixteen. Our ingredients are
       sourced from companies that conduct themselves in the same manner and Blommer
       requires that these suppliers confirm that their organizations understand
       International Labor standards and comply with those laws. If we believe that a
       supplier is not in compliance with our standards, we will provide that supplier with
       the opportunity to address and remedy any potential non-compliance through a
       comprehensive corrective action plan. Should noncompliance continue to be an
       issue we will remove the supplier from our supply chain. 146

However, after asserting that neither Blommer nor its suppliers permit the use of child labor, and

even seeming to guarantee that Blommer does not use forced or child labor, the statement

continues to acknowledge the presence of child labor in cocoa production.

       Blommer is committed to continuing this work to improve labor conditions within
       the cocoa community including the elimination of the worst forms of child labor.
       We work closely with the leading certification agencies and our West African
       programs are annually audited by the Rainforest Alliance, Fair Trade USA, FLO,
       UTZ, and Intertek as well as international worker’s rights group the Fair Labor
       Association. 147

       92.     If Blommer alleges that it does not use nor purchase from suppliers who used

forced child labor, it is unclear where its efforts towards the “elimination of the worst forms of

child labor” are being executed.




146
    Labor Compliance Statement, BLOMMER,
https://www.blommer.com/_documents/Blommer_Labor-Compliance-Statement-2020.pdf
147
    Id.


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      D. EFFORTS BY IRADVOCATES AND OTHERS TO ADDRESS CHILD LABOR
         IN CÔTE D’IVOIRE

        93.      On May 30, 2002, the International Labor Rights Forum (ILRF) 148 filed a

Section 307 Petition seeking a Withhold Release Order (WRO) on all cocoa imported to the

U.S. from Côte d’Ivoire. The ILRF Petition detailed the extensive evidence of forced and

trafficked child labor in the harvesting and processing of Côte d’Ivoire cocoa and documented

that U.S. importers were knowingly importing cocoa produced by illegal child labor. There was

little dispute about the facts. The cocoa importers, acting through the Chocolate Manufacturers

Association (CMA), one of the entities that signed the Protocol in 2001 pledging to end child

labor in the cocoa supply chain, did not dispute that child labor was pervasive in their supply

chains. Rather, they argued that the “domestic consumptive demand” exemption allowed them

to continue to import cocoa from Côte d’Ivoire even though it was produced by child labor. The

domestic consumptive demand exemption was removed in 2015 and thus no longer provides

immunity for the cocoa importers’ ongoing and admitted use of illegal child labor in their

supply chains.

        94.      When the cocoa companies that signed the 2001 Protocol had still done little or

nothing to implement the pledge to end child labor by 2005, IRAdvocates filed a federal lawsuit

under the Alien Tort Statute (ATS), 28 U.S.C. § 1350 against Nestlé and Cargill on behalf of six

individuals who, as children, had been trafficked from Mali to Côte d’Ivoire and had been

forced to work harvesting cocoa. The case, John Doe I et al. v. Nestle et al., was heard by the

Supreme Court on December 1, 2020. On June 17th, 2021, sixteen years after the case was filed,




148
   IRAdvocates’ legal staff was part of the team at ILRF that did the field research and filed the
2002 Petition with CBP. In 2007, the legal department of ILRF formed IRAdvocates to focus
exclusively on using the rule of law to address international human rights violations.


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the Supreme Court issued a heavily divided opinion which determined that the operative

complaint did not satisfy the standard for the extraterritorial application of ATS created by

Kiobel v. Royal Dutch Petroleum Co. in 2013. This decision deprived the plaintiffs, six formerly

enslaved children, of their day in court. Even though the case eventually failed due a

technicality within the Alien Tort Statute, the Ninth Circuit acknowledged the existence of child

slavery within Côte d’Ivoire, stating:

       The use of child slave labor in the Ivory Coast is a humanitarian tragedy. Studies
       by International Labour Organization, UNICEF, the Department of State, and
       numerous other organizations have confirmed that thousands of children are forced
       to work without pay in the Ivorian economy. Besides the obvious moral
       implications, this widespread use of child slavery contributes to poverty in the Ivory
       Coast, degrades its victims by treating them as commodities, and causes long-term
       mental and physical trauma. Doe I v. Nestle, 766 F.3d 1013, 1017 (9th Cir. 2014).

       95.     In another section of the Doe I v. Nestle opinion, the Ninth Circuit identified as

credible the plaintiffs’ claims that defendants, major cocoa companies, knowingly benefit from

the use of forced child labor, writing:

       [T]he Ivory Coast remains a critical part of the international chocolate industry,
       producing seventy percent of the world’s supply of cocoa. The defendants in this
       case dominate the Ivorian cocoa market. Although the defendants do not own cocoa
       farms themselves, they maintain and protect a steady supply of cocoa by forming
       exclusive buyer/seller relationships with Ivorian farms. The defendants are largely
       in charge of the work of buying and selling cocoa and import most of the Ivory
       Coast’s cocoa harvest into the United States. The defendants’ involvement in the
       cocoa market gives them economic leverage, and along with other large
       multinational companies, the defendants effectively control the production of
       Ivorian cocoa.

       To maintain their relationships with Ivorian farms, the defendants offer both
       financial assistance and technical farming assistance designed to support cocoa
       agriculture. The financial assistance includes advanced payment for cocoa and
       spending money for the farmers’ personal use. The technical support includes
       equipment and training in growing techniques, fermentation techniques, farm
       maintenance, and appropriate labor practices. The technical support is meant to
       expand the farms’ capacity and act as a quality control mechanism, and either the
       defendants or their agents visit farms several times per year as part of the
       defendants’ training and quality control efforts.



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          The defendants are well aware of the child slavery problem in the Ivory Coast. They
          acquired this knowledge firsthand through their numerous visits to Ivorian farms.
          Additionally, the defendants knew of the child slave labor problems in the Ivorian
          cocoa sector due to the many reports issued by domestic and international
          organizations.

          Despite their knowledge of child slavery and their control over the cocoa market,
          the defendants operate in the Ivory Coast “with the unilateral goal of finding the
          cheapest sources of cocoa.” The defendants continue to supply money, equipment,
          and training to Ivorian farmers, knowing that these provisions will facilitate the use
          of forced child labor. The defendants have also lobbied against congressional
          efforts to curb the use of child slave labor. In 2001, the House of Representatives
          passed a bill that would have required United States importers and manufacturers
          to certify and label their products “slave free.” The defendants and others in the
          chocolate industry rallied against the bill, urging instead the adoption of a private,
          voluntary enforcement mechanism. A voluntary enforcement system was
          eventually adopted, a result that, according to the plaintiffs, “in effect guarantee[d]
          the continued use of the cheapest labor available to produce [cocoa]—that of child
          slaves.” 766 F.3d at 1017-18.

          96.    In 2010, Filmmaker Miki Mistrati released The Dark Side of Chocolate, the first

of three documentaries that reveal in shocking detail the realities of child slavery in the cocoa

sector. The Shady Chocolate Business, released in 2012, further exposed the horrors of chocolate

production in Côte d’Ivoire. The Chocolate War, Mistrati’s most recent film, released in 2022,

highlights IRAdvocates’ fight to expose Nestlé and Cargill’s ongoing use of child labor while

these companies deny their responsibility for injuries to forced child laborers. 149

          97.    In 2018, an IRAdvocates team, including the undersigned Executive Director

Terry Collingsworth, visited cocoa farms around Côte d’Ivoire. In Duekoue, they observed and

interviewed a group of about seven male child workers harvesting cocoa. The following are

photos taken by Terry Collingsworth or a member of the team:




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      The Chocolate War is available on amazon.com and other streaming services.


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       98.     The two children in the photos above were both about fourteen years old. They

were using machetes to clear brush around the cocoa trees and to cut cocoa pods from the trees

and then open the pods and clean the cocoa beans. Both children said they were brought by a

“man” from Burkina Faso, where they were from. They did not know the man’s name, but they

were promised jobs working on a cocoa farm. When IRAdvocates met them, they had been

working on the farm for over a year and were on their second season. They had not yet been paid

anything and were working for food. They slept in a lean-to made of sticks and covered with a

tarp. The boy in the photo immediately above in the white shirt expressed that he was very

hungry and asked for food. He was visibly afraid of the adult male who was the overseer of the

farm. These children can also be seen in the first sixty seconds of this video,

https://vimeo.com/388589094, captured by Miki Mistrati’s film crew as a part of The Dark Side

of Chocolate documentary.




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       99.     In March 2019, IRAdvocates returned to Côte d’Ivoire and again visited several

farms. In Daloa, IRAdvocates visited a farm that had about eight boys working with machetes

cutting down cocoa pods, opening the pods, and cleaning the beans. The following photos were

taken by IRAdvocates’ Executive Director Terry Collingsworth or a member of the team:




       100.    In December 2019, Corporate Accountability Lab and IRAdvocates, with local

support, obtained evidence of child labor on cocoa farms in Côte d’Ivoire. Investigators visited

four different regions within the country, and spoke with farmers, farmworkers (adult and

children), cooperative managers, and others living and working in the area. Many individuals

recited prepared answers, and many children simply dropped their work and walked away when

they would see the investigators.




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       101.    In August 2020, investigators working with Corporate Accountability Lab visited

Soubré, Daloa, Duékoué, Abengouro, and Aboisso during the mid-crop harvest to investigate the

impact of COVID-19 on cocoa farmers. The investigatory team visited the same regions in

December of 2020, during the main cocoa growing season, to investigate trafficking routes and

identify specific instances of forced and child labor. The team also traveled to the northern

border regions in November 2020 to investigate trafficking patterns from Mali and Burkina Faso.

On these trips, the investigatory team found evidence of illegal trafficking across closed borders.

Local police officials were aware of these trafficking patterns, and in some instances facilitated

and profited from it, soliciting bribes from known traffickers.

       102.    Although forced child labor is difficult to document in the West African cocoa

industry, as many locals are hesitant to speak about such issues, investigators spoke to many

young children who presented several of the International Labour Organization’s (ILO) forced

labor indicators. Investigators found the indicators of abuse of vulnerability, abusive working

and living conditions, and isolation were applicable in many of these children’s cases.

       103.    On February 12, 2021, IRAdvocates filed its most recent complaint against the

world’s most prominent chocolate companies, including Nestlé, Cargill, Barry Callebaut, Mars,

Olam, Hershey, and Mondelēz. The case, Coubaly v. Nestlé, was filed on behalf of eight former

child slaves. It alleges that these companies violate the Trafficking Victims Protection

Reauthorization Act (TVPRA), 18 U.S.C. § 1595 et. seq. by knowingly benefitting from a

venture that utilized trafficked or forced labor. The plaintiffs also seek relief based on common

law claims of negligent supervision, intentional infliction of emotional distress, and unjust

enrichment. That case is currently pending in the D.C. Circuit Court of Appeals.




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       104.    Despite chocolate companies’ repeated assurances that child labor in West Africa

is only due to children working on family farms, the Coubaly case highlights that there is no

question that pervasive forced and trafficked child labor is used for harvesting cocoa. The eight

plaintiffs were trafficked from Mali and subjected to forced labor. Their stories share many

tragic traits. Often beginning with false promises of a better life, these children were identified

by a locateur, who surreptitiously sneaked them across the border. Upon arrival at cocoa

plantations in Côte d’Ivoire, oftentimes having no knowledge of where they were located, the

children were forced to live in horrible conditions and given very little food. They performed

dangerous work, clearing brush with machetes, applying harsh chemicals without any safety

gear, and carrying heavy loads. Several of the children are scarred with injuries sustained while

engaging in forced labor, from machetes cuts to untreated snake bites. Many were additionally

subjected to beatings by their bosses on the plantations. As they had no money and could not

understand the local language, the child slaves had no way to advocate for themselves when year

after year passed without any payment for their labor.

       E. THE FAILURE OF CBP TO TAKE ACTION AS REQUIRED BY LAW

       105.    As the “consumptive demand” exception was removed from Section 307 of the

Tariff Act of 1930, and as the use of forced child labor in cocoa harvesting by the major

companies had actually gotten worse in the intervening years, IRAdvocates, CAL, and UCI

attempted to reengage CBP by filing a petition under Section 307 of the Tariff Act on February

14, 2020. The Petition, attached as Exhibit A, requested that CBP take action, as provided for in

its legislation, to ban the importation of cocoa by nine specific companies with clear records of

harvesting cocoa with forced child labor in Côte d’Ivoire. It featured evidence collected during

the 2019 and 2020 investigatory trips in Côte d’Ivoire. Additionally, the Petition referenced




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official, undisputed reports confirming massive numbers of child laborers in cocoa harvesting

and supplemental evidence that many of these children are trafficked and forced to work on

cocoa plantations. Shortly after filing the Petition, in March 2020, IRAdvocates and CAL met

with staff from CBP to discuss the Petition. CBP confirmed that they had sent all of the major

cocoa suppliers a detailed questionnaire regarding their supply chains (attached as Exhibit D).

In subsequent discussions, CBP declined to discuss how or even whether the cocoa companies

subject to the Petition responded to the questionnaire.

       106.    After a year without response from Customs and Border Protection, CAL met

with CBP’s Office of Trade on March 23, 2021. CBP claimed to be investigating the facts and

gave no indication that there was any issue with the quality or timeliness of the information

provided in the Petition.

       107.    On June 25, 2021, CAL and IRAdvocates filed a supplemental petition providing

further current evidence of trafficking and forced child labor in the Ivorian cocoa industry

(attached as Exhibit E). This supplemental petition looked not just at specific instances of

forced labor, but also documented new information about the manner in which child trafficking

occurs, including through specific border crossings, and identified specific actors involved in

the trade. The information in the supplemental petition was consistent with the NORC report

released by the Department of Labor in October 2020, which found that 1.56 million children

are engaged in harvesting cocoa in Côte d’Ivoire and Ghana and ninety-five percent are engaged

in the ILO’s definition of the worst forms of child labor.

       108.    On September 10, 2021, CBP representatives Edward Thurmond, Maria Navarro,

and possibly others, met with CAL and IRAdvocates to discuss the status of the investigation

and the new information provided in the supplemental petition. CBP gave no useful information




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about the status of the case but expressed appreciation for the new information and

acknowledged CAL and IRAdvocates’ frustration at the lack of action.

       109.    On February 14, 2022, after another prolonged period of silence and inaction by

CBP, IRAdvocates and co-petitioners wrote Commissioner Magnus to request that he take long

overdue action to address the ongoing forced labor in Côte d’Ivoire’s cocoa industry. The letter,

attached as Exhibit B, was signed by many important civil society stakeholders, including the

AFL-CIO. These organizations expressed great frustration at CBP’s two years of inaction

despite the overwhelming evidence that cocoa imported from Côte d’Ivoire is certainly

produced “in whole or in part” by forced child labor.

       110.    On August 15, 2022, CAL met with CBP representatives Ann Marie Highsmith

and Eric Choy and discussed cocoa briefly, among other topics.

       111.    Unfortunately, the February 2022 letter, followed up by an email in October

2022 from IRAdvocates to Acting Commissioner Miller, went unanswered until December 13,

2022. On that day, Acting Commissioner Troy Miller made the first written communication

from CBP concerning the nearly three-year-old pending Petition and sent a letter to

IRAdvocates (attached as Exhibit F). Rather than address the merits or explain CBP’s

incredible delay in addressing the Petition, Acting Commissioner and Defendant herein Miller

made the incredible assertion that, after nearly three years of unanswered pleas, the information

provided by petitioners is dated. This was the first time any person at CBP had raised the issue

of timeliness. Defendant Miller’s letter ended with a bureaucratic flair. He claimed that “if

evidence reasonably indicates that merchandise is produced by forced labor . . . and is being or

is likely to be imported into the United States, CBP will issue a withhold release order (WRO).”

This assertion has proven to be unequivocally false.




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        112.    IRAdvocates responded to Defendant and Acting Commissioner Miller in a letter

dated January 17, 2023 (attached as Exhibit G). Responding to the baseless assertion that the

information provided by IRAdvocates, CAL, and UCI was untimely, IRAdvocates stated, “[o]ur

original Petition submitted on February 14, 2020 was explicitly based on evidence of trafficked

and forced child labor that we gathered across 2019 and also referred to official government

reports from 2019. Our June 25, 2021 Supplemental Petition was explicitly based on interviews,

observations, and photos from December 2020 and current government reports. It is hard to

imagine given processing and verification time that these submissions could have been more

current.” IRAdvocates also asked for clarification as to whether Defendant Miller’s letter, which

did not address the merits of the Petition in any way, was a ruling of some sort on the Petition.

        113.    There has been no further response from CBP. On February 14, 2023, CAL

submitted an additional Supplemental Petition of ongoing forced child labor in Côte d’Ivoire

cocoa harvesting (attached as Exhibit H). This was the third anniversary of the original Petition,

which CBP has yet to address on the merits. CBP has not responded to the Supplemental

Petitions either.

        114.    CBP has continuously shirked its duties to answer widely-substantiated claims

that cocoa producers are importing cocoa into the United States that has been produced by

forced child labor. IRAdvocates, CAL, and UCI have suffered financial harm to the inaction of

CBP, requiring ongoing and expensive investigations to provide updated information. This

prolonged indecision and failure to act by CBP has left vulnerable and endangered children at

risk for exploitation.




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                               II. JURISDICTION AND VENUE

       115.    This Court has exclusive jurisdiction over the subject matter of this action

pursuant to 28 U.S.C.S. § 1581(i)(1)(c). Plaintiff’s claims arise out of Section 307 of the Tariff

Act of 1930, 19 U.S.C.A. § 1307, which is a law of the United States that provides for

“embargoes or other quantitative restrictions on the importation of merchandise for reasons other

than the protection of the public health or safety.” 28 U.S.C.S. § 1581(i)(1)(c), see 19 U.S.C.A. §

1307. Plaintiff seeks declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.

       116.    Venue in the U.S. Court of International Trade is proper by virtue of 28 U.S.C. §

1391(b) and (e) because defendants are officers of the United States, acting in their official

capacity, and agencies of the United States.

                                          III. PARTIES

                                               Plaintiff

       117.    Plaintiff IRAdvocates was founded in 2007 as an advocacy organization dedicated

to achieving just and humane treatment for workers worldwide. IRAdvocates advocates for and

with working people around the world, including in Côte d’Ivoire, and is committed to

overcoming the problems of child labor, forced labor, and other abusive labor practices in the

global economy. IRAdvocates promotes enforcement of labor rights internationally through

public education and mobilization, research, litigation, legislation, and collaboration with labor,

government and business groups.

       118.    IRAdvocates is within the category of persons entitled to submit a petition under

19 CFR § 12.42.

       119.    Due to the failure/refusal of the Defendants to properly enforce the law, Plaintiff

IRAdvocates has expended its own resources to investigate allegations of forced child labor in




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Côte d’Ivoire, and to initiate its own campaign to prevent the importation of this illegal

merchandise. Further, IRAdvocates has expended resources in an ongoing, multi-year effort to

obtain enforcement of the Tariff Act by Defendants. This expenditure of resources constitutes a

judicable, concrete and specific injury on the part of IRAdvocates.

                                            Defendants

       120.    Defendant Alejandro Mayorkas is the Secretary of the Department of Homeland

Security (DHS) and is sued in his official capacity. Secretary Mayorkas is authorized and

obligated to properly enforce Section 307 of the Tariff Act and the regulations promulgated

thereunder. He is required to direct his subordinate officers to properly implement the law.

       121.    Defendant Troy A. Miller is the Acting Commissioner of the Bureau of Customs

and Border Protection at DHS. He is sued in his official capacity. Defendant Miller is obligated

to comply with and enforce the Customs regulation 19 CFR § 12.42 and the enabling statute, the

Tariff Act of 1930, 19 U.S.C. § 1307. He is further required to direct his subordinate officers to

properly implement the law.

       122.    Defendant DHS is an agency of the United States that houses the Bureau of

Customs and Border Protection. As of March 1st, 2003, DHS is responsible for implementing

and enforcing the Tariff Act’s prohibition on the importation of goods that are the fruits of forced

child labor. 19 U.S.C. § 1307; 19 CFR § 12.42.




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                                    IV. CAUSE OF ACTION

                Violation of Administrative Procedure Act - 5 U.S.C. § 706(1)

       123.    The Tariff Act of 1930, 19 U.S.C. § 1307 (1997), prohibits the importation of

goods that are produced wholly or in part in any foreign country by convict labor or/and forced

labor or/and indentured labor under penal sanction. The Act declares that such goods “shall not

be entitled to entry at any of the ports of the United States, and the importation thereof is hereby

prohibited.”

       124.    In 1997, the Sanders Amendment was passed, clarifying the definition of “forced

labor” for the purposes of the Act so as to explicitly include forced or indentured child labor:

“‘Forced labor’ as herein used, shall mean all work or service which is exacted from any person

under the menace of any penalty for its nonperformance and for which the worker does not offer

himself voluntarily. For purposes of this section, the term ‘forced labor or/and indentured labor’

includes forced or indentured child labor.” 19 U.S.C. § 1307 (1997) (emphasis added).

       125.     The regulations promulgated pursuant to this statute entitle “[a]ny person outside

the Customs Service who has reason to believe that merchandise produced [by convict, forced, or

indentured labor] is being, or is likely to be, imported into the United States” to “communicate

his belief to any port director or the Commissioner of Customs.” 19 CFR § 12.42(b).

       126.    The regulations further require that any such communication be accompanied by:

“(1) a full statement of the reasons for the belief; (2) a detailed description or sample of the

merchandise; and (3) all pertinent facts obtainable as to the production of the merchandise

abroad.” Id.

       127.    If the communication does not conform to these requirements, the regulations

require that “the communication shall be returned promptly to the person who submitted it with




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detailed written advice as to the respects in which it does not conform.” 19 CFR § 12.42(c).

          128.   Upon receipt of a communication that conforms to the requirements of 19 CFR §

12.42(b), the regulations require that “the Commissioner will cause such investigation to be

made as appears to be warranted by the circumstances of the case.” 19 CFR § 12.42(d) (emphasis

added).

          129.   If the Commissioner “finds at any time that information available reasonably but

not conclusively indicates that merchandise within the purview of Section 307 is being, or is

likely to be, imported, he will promptly advise all port directors accordingly and the port

directors shall thereupon withhold release of any such merchandise.” 19 CFR § 12.42(e)

(emphasis added).

          130.   If it is determined that the merchandise in question was produced, wholly or in

part, by convict, forced, or indentured labor, such merchandise must be denied entry into the

United States, “unless the importer establishes by satisfactory evidence that the merchandise was

not mined, produced, or manufactured in any part with the use of a class of labor specified in the

finding.” 19 C.F.R. § 12.42(f) and (g) (emphasis added).

          131.   As previously alleged in paragraphs 1-114, supra, IRAdvocates, CAL, and UCI

filed a comprehensive Section 307 Petition in compliance with the operative regulations on

February 14, 2020, and have supplemented it twice with additional timely information. CBP has

failed to take any action with respect to the Petition as is required by law. In taking no action for

more than three years, CBP has allowed hundreds of millions of dollars’ worth of tainted cocoa

produced by forced child labor to illegally enter the United States. As such, Defendants have

violated their own regulations and the laws of the United States. 19 CFR § 12.42, 19 U.S.C. §

1307 (1997).




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       132.    Pursuant to Section 706(1) of the Administrative Procedure Act, this Court may

“compel agency action unlawfully withheld or unreasonably delayed.”

       133.    Defendants Secretary of Homeland Security Mayorkas and CBP Acting

Commissioner Troy Miller have unlawfully withheld and/or unreasonably delayed an

investigation into cocoa imports from Côte d’Ivoire, as required by 19 CFR § 12.42, and, further,

to deny entry into the United States the products of forced child labor, as required by the Tariff

Act of 1930, as amended. 19 U.S.C. § 1307. More fundamentally, they have failed to take any

action whatsoever, including issuing a decision regarding the merits of the Petition.

       134.    Plaintiff IRAdvocates has complied fully with the requirements of 19 CFR §

12.42(b), and thus Customs is obligated to act on the Petition and issue a WRO as requested by

the Petition, or make a determination that the Petition lacks merit, or make some other

appropriate decision in response to the Petition.

                                  V. REQUEST FOR RELIEF

       WHEREFORE, Plaintiff requests that this Court:

       A.      Declare that the February 14, 2020 Petition and supplemental materials submitted

by IRAdvocates, CAL, and UCI constitute a sufficient basis to require CBP to take appropriate

action under the Tariff Act of 1930, 19 U.S.C. § 1307 and the applicable implementing

regulations, 19 CFR § 12.42 et seq.;

       B.      Declare that the failure and refusal of the defendants Secretary of Homeland

Security and Acting Commissioner of CBP to issue a decision in response to the February 14,

2020 Petition violates Section 706(1) of the Administrative Procedure Act. These agencies have

a statutory duty to make a decision within the scope of their statutory authority. They do not have

the power to simply ignore a federal law passed by Congress;




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C.   Award Plaintiff their costs and attorneys’ fees pursuant to 28 U.S.C. § 2412; and

D.   Grant such other relief as the Court deems just and equitable.



     Respectfully submitted this 15th day of August, 2023,

                           s/ Terrence P. Collingsworth
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